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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                      IN THE UNITED STATES DISTRICT COURT                  May 15, 2020
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                        David J. Bradley, Clerk
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                 §
     Plaintiff,                           §
                                          §
JANE DRAYCOTT and PAULA KEYES,            §
     Plaintiffs-Intervenors,              §
                                          §
                                          §
v.                                        §      CIVIL ACTION NO. H-18-0644
                                          §
THE CITY OF HOUSTON, TEXAS,               §
                                          §
                      Defendant.          §


                         MEMORANDUM OPINION AND ORDER

        Plaintiff,      the   United    States    of   American    ("USA"),        and

plaintiff-intervenors, Jane Draycott ("Draycott") and Paula Keyes

("Keyes") , bring this action against defendant, the City of Houston

(the "COH''), for engaging in employment discrimination in violation

of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§    2000 et seg.       Pending before the court are Plaintiff United

States' s Motion for Summary Judgment and Memorandum in Support

("USA's MSJ") (Docket Entry No. 59), Defendant's Motion for Summary

Judgment     ("COH's MSJ")       (Docket Entry No.      63) ,   Plaintiff United

States'     Motion      to    Exclude   Testimony      of   Defendant's      Expert

Dr. Dwight D. Steward ("USA's Motion to Exclude Steward Testimony")

(Docket Entry No. 81),           Defendant's Motion to Exclude or Limit

Opinion Testimony of Plaintiffs' Designated Economics Expert Jon

Wainwright ("COH's Motion to Exclude Wainwright Testimony") (Docket

Entry No.      82),    Defendant's Motion to Exclude or Limit Opinion

Testimony of Plaintiff's Designated Mental Health Experts (Docket
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Entry No. 83), Defendant's (Corrected) Motion to Exclude or Limit

Opinion Testimony of Plaintiff's Designated Mental Health Experts
("COH's     Corrected   Motion   to    Exclude    Mental   Health   Experts'
Testimony") (Docket Entry No. 85), and Defendant's Objections to
and Motion to Strike Plaintiff United States' Summary Judgment
Exhibits ("COH's Objections and Motion to Strike") (Docket Entry
No. 120).    Because the parties have tentatively resolved all claims
brought on behalf of Keyes, the pending motions relate solely to
claims brought on Draycott's behalf. 1           For the reasons set forth
below, the USA's MSJ (Docket Entry No. 59) will be granted, the
COH's MSJ (Docket Entry No. 63) will be denied, the USA's Motion to
Exclude Steward Testimony (Docket Entry No. 81) will be granted,
the COH's Motion to Exclude Wainwright Testimony              (Docket Entry
No. 82) will be denied, Defendant's Motion to Exclude or Limit
Opinion Testimony of Plaintiff's Mental Health Experts (Docket
Entry No. 83) will be declared moot in light of the COH's Corrected
Motion to Exclude Mental Health Experts' Testimony (Docket Entry
No. 85) which will be denied, and the COH's Objections and Motion
to Strike (Docket Entry No. 120) will be denied.



     1
      See USA's MSJ, Docket Entry No. 59, p. 6 n. 1 ("Ms. Keyes has
resolved all of her claims against the City, pending finalizing of
the settlement agreement."); COH's MSJ, Docket Entry No. 63, p. 11
n. 1) ("The parties have tentatively resolved all claims brought by
Plaintiff on behalf of Paula Keyes, including injunctive relief
arising from Keyes' claims, and claims brought by Keyes,
individually as intervenor."). Page numbers for docket entries in
the record refer to the pagination inserted at the top of the page
by the court's electronic filing system.
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              I.   Factual and Procedural Background 2

     This civil rights action stems from events that occurred in

2009 and 2010 at Houston Fire Department ("HFD") Station No. 54,

which was one of HFD's four Aircraft Rescue and Firefighting

("ARFF") Stations.     Station 54 staffed firefighters on four shifts

known as A, B, C, and D.       A Junior Captain and a Senior Captain

were on duty during each shift.      Both Captains reported to an off­

site District Chief.

     Draycott began working for HFD in            August   of 2000.         On

September 26, 2006, her 17-year old daughter Amanda was killed in

a motor vehicle crash in Arizona.         On October 22, 2007, Draycott

completed the requirements of Firefighter Master, a certification

required to respond to aircraft accidents and other emergencies at

airports. 3   Draycott transferred to ARFF Station 54 A shift in

August of 2008.    Keyes was assigned to Station 54 A shift in April



     2
      The factual background is based on the Appendix: Statement of
Material Facts in Support of City of Houston's Motion for Summary
Judgment ("COH's Statement of Facts"), Docket Entry No. 63-1; the
Statement of Facts in COH's Corrected Motion to Exclude Mental
Health Experts' Testimony, Docket Entry No. 85, pp. 7-10; Appendix
2: Plaintiff United States' Separate Statement of Material Facts
Foreclosing Summary Judgment ("USA's Statement of Facts"), Docket
Entry No, 105-2; and the Factual Background included in Plaintiff­
Intervenor Jane Draycott's Response to Defendant's Motion for
Summary Judgment ("Draycott's Response to the COH's MSJ"), Docket
Entry No. 114, pp. 7-21.
     3
      See Draycott Firefighter Master Certificate, Exhibit 35 to
Plaintiff United States' Opposition to Defendant's Motion for
Summary Judgment ("USA's Response in Opposition to the COH's MSJ"),
Docket Entry No. 100-4.
                                    -3-
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of 2009.    When Draycott and Keyes were assigned to the Station 54

A shift, Isidro Tamez ("Tamez") was the Senior Captain and Erich

Hencshel ("Hencshel") was the Junior Captain.          Tamez and Hencshel
reported to District Chief George McAteer ("McAteer").
     Firefighters at Station 54 worked two 24-hour shifts per week,

as well required "debit days" (an extra 24-hour shift worked once
a month).    During their shifts firefighters lived, ate, and slept
at the station.    Station 54 had separate dormitories and bathrooms
for men and women.      Female firefighters were expected to clean the
women's     dormitory   and   bathroom.     Although    HFD   ARFF   policy

prohibited male firefighters from entering female dormitory and
bathroom areas, 4 male firefighters were allowed to violate that

policy when no women were on shift.
     When Draycott and Keyes arrived for their shifts,                  they
regularly found urine on the toilets, the floors, and the walls,
and in the sink in the women's bathroom.               They found chewing
tobacco spit cups in the women's dormitory, finger nail clippings
in their beds, and their personal items disturbed and sometimes
removed from their lockers and damaged.             On occasion chewing
tobacco was found spit directly into the women's dresser drawers.
     Draycott and Keyes complained repeatedly to Hencshel about the
conditions regularly found in the women's dormitory and bathroom.


     4
      See ARFF Bulletin from Chief McAteer's Office dated February
18, 2007, Exhibit 33 to USA's Response in Opposition to the COH's
MSJ, Docket Entry No. 100-3.
                                    -4-
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Beginning on April 10, 2009, Hencshel began recording complaints

about the women's dormitory and bathroom in the station Log Book
which was accessible to every firefighter at the Station.            On May

13, 2009, Hencshel recorded that during Roll Call he questioned
whether any firefighter had gone into the women's dormitory and

reminded his staff that those areas were off limits.            On May 18,
and June 19, 2009, Hencshel recorded that urine was reported on the
toilet in the women's bathroom.           On June 19,      2009,   Draycott
reported to Hencshel that she had tried to take a shower and had
been scalded by hot water.     An investigation revealed that the cold
water valve in the ceiling had been manually turned off although
there were no records of any maintenance work around that time.

     On June 21,     2009,   Hencshel emailed the other captains at
Station 54, informing them that he had received numerous complaints
about urine on the women's toilet seat and rim, and asked them to
advise their staffs that the women's dormitory and bathroom were
off limits.   Following that notification, the announcement speakers
in the women's dormitory were manually turned off, causing Keyes to
miss a call, and Draycott to nearly miss a call, and the cables to
the television in the women's dormitory went missing.              District
Chief McAteer was apprised of at least some of the problems about
which Draycott and Keyes were complaining, but his only response
was to instruct the Station 54 captains to manage the situation.




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     After complaining to Hencshel repeatedly, but to no avail,

about the conditions regularly found in the women's dormitory and

bathroom, Draycott filed a gender discrimination complaint with
Staff Services on June 29, 2009.      Draycott's complaint was referred
to the COH's Office of Inspector General ( "OIG") for investigation.

OIG investigated the following allegations:          (1) women's restroom
conditions including urine being left on the toilet, walls, and
floors, and in the sink;      (2) Draycott's locker being disturbed;
(3) Draycott's mattress being moved; (4) cold water to the women's
shower being turned off; (5) television cables being removed from
the women's dormitory;      ( 6) announcement speakers in the women's

dormitory being turned off; and (7) debris, including tobacco spit
and nail clippings,     being left in the women's dormitory.                OIG
sustained Draycott's complaints about the cold water to the women's
shower and the volume to the speakers in the women's dormitory
being turned off, but did not recommend corrective action. 5
     After Draycott filed the complaint with Staff Services, she
and Keyes were scheduled to be off for a week.         When they returned
to work on July 7, 2009, Draycott and Keyes found the women's
dormitory vandalized, "die bitch" written on the door to Draycott's
locker, and "die bitch" and "nigger lover" written on the wall
above her desk next to a picture of her children.                    Inside



     5
      See OIG Investigation No. 2009-424, Exhibit L to COH's MSJ,
Docket Entry No. 75 (stating that this exhibit is filed on a CD).
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Draycott's locker the word "dead" was written on a picture of her

deceased daughter, the word "die" was written on her picture, and

black marks were made on her other family pictures.                   Above Keyes'
desk,       the   words   "die   nigger"      were   written    and    her   family

photographs were defaced and knocked off her desk. Emotionally

distraught by the vandalism, Draycott and Keyes were both placed on
administrative leave.

        Draycott reported the vandalism to her captains, and she and

Keyes filed complaints with the OIG,                 which were referred for
investigation to the Houston Police Department ("HPD").                      During

investigation of the vandalism of the women's dormitory at Station

54, HPD ordered 18 firefighters, including Draycott and Keyes, to
submit to polygraph tests.           HPD also collected handwriting samples
from a number of firefighters, including Draycott and Keyes. No
suspects were identified. 6           While HPD investigated the July 7,
2009,       vandalism of the women's dormitory at Station 54,                 Keyes
transferred       to   the   Hobby   Airport     station,      and    Draycott   was
instructed to work at Station 99.          Because the male firefighters at
Station 99 were openly hostile, Draycott returned to administrative
leave until the investigation was completed.
        Draycott filed a timely charge of discrimination with the
Equal Employment Opportunity Commission ("EEOC") on July 15, 2009,



      See OIG Investigation No. 2009-407, Exhibit K to COH's a CD,
        6

Docket Entry No. 75 (stating that this exhibit is filed on a CD).
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and amended her charge to include additional charges of retaliation

on April 6, 2010. 7
        The COH retained the law firm of Thompson           &   Horton to evaluate
the effectiveness of HFD policies, practices, and training related
to workplace harassment and discrimination,                 and on December 7,

2009, the firm issued their assessment and recommendations. 8 Based
on the Thompson        &   Horton Assessment, the COH moved OIG from HPD to

the legal department, and revised policies and procedures related
to     investigations        of   complaints    of   work       place     harassment,
discrimination, and retaliation.
        In October of 2009, Draycott began therapy with Dr. William E.

Metcalfe, an HPD staff psychologist.                 Dr. Metcalfe was able to
treat Draycott because her husband was employed by HPD.
        In November of 2009, then Fire Chief Phil Boriskie informed
Draycott's attorney that his preference was for Draycott not to
return to Station 54 but, instead, to accept another assignment.
Boriskie        told   Draycott's    attorney    that   she       could     work   any
assignment that she wished, including in his office.                       Draycott,
however, wanted to return to work the Station 54 A shift.
        Boriskie scheduled Draycott to return to work the Station 54
A shift on January 13, 2010.             On January 7, 2010, Boriskie and


        1
            See Charge of Discrimination, Exhibit 57 to USA's Response in
Opposition to the COH's MSJ, Docket Entry No. 105-43.
      See Houston Fire Department Assessment ( "Thompson & Horton
        8

Assessment"), Exhibit R to COH's MSJ, Docket Entry No. 74-2.
                                        -8-
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members of his command staff met with the other members of Station

54's A shift to inform them that Draycott would be returning to
work   on   January   13th,   and    that   a   Critical    Incident   Stress
Management ("CISM") meeting with HFD staff psychologist Dr. Finney
would be held immediately after             Roll Call the day Draycott

returned.    Station 54 A shift members told Boriskie that they did
not want Draycott to return.
       On January 11, 2010, Captain Brian Williamson who was then the
Junior Captain for Station 54's A shift, organized a meeting of
select firefighters who decided to oppose Draycott' s return by
delivering prepared statements at Roll Call the day of her return.
       On January 13, 2010, Boriskie arrived at Station 54 about 6:00
a.m. so that he would be present when Draycott returned and he
could participate in the CISM meeting.          Also present at Station 54
that morning were members of Boriskie's command staff, Assistant
Fire Chiefs Karen DuPont,           Omero Longoria,    and Daniel Snell,
District Chief McAteer,       ARFF division-wide coordinator Ronald
Krusleski, staff psychologist, Dr. Finney, union representative,
Alvin White, all members of the Station 54 A shift, some members of
the previous shift, and some firefighters from other stations.
       During the 7:00 a. m. Roll Call Captain Williamson read a
prepared    statement   opposing Draycott's        return    to   Station   54
stating, inter alia, that he did not trust Draycott, he could not
guarantee her safety,      and he questioned her mental health and


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ability to do her job. 9 Other firefighters made similar statements

opposing Draycott's return to Station 54 stating that they did not
trust her and blamed her for a host of negative consequences
attributed to the investigation of her complaints.         Draycott tried,
but was not allowed,       to respond.       Although present,      neither

Boriskie, the members of his command staff present, nor the HFD
psychologist intervened,      but allowed the firefighters to speak

against Draycott without interruption.
     The statements being made against her without recourse made
Draycott visibly upset.         At the recommendation of the union
representative, Alvin White, Draycott did not work her shift but,
went to meet with psychologist, Dr. William Metcalfe, who had been
treating her since October of 2009.          Following her meeting with
Dr. Metcalfe,    Draycott went home and started another period of
administrative leave.
     Draycott filed a retaliation complaint with OIG about the
events of January 13, 2020. 10
     On March 30, 2010, OIG informed Draycott and Keyes that while
their complaints about the July 7, 2009, vandalism of the women's
dormitory at Station 54 would be sustained, "there is not enough



     9
      See Captain Williamson's Statement Read at January 13, 2010,
Roll Call, Exhibit 65 to USA's Response in Opposition to COH's MSJ,
Docket Entry No. 101-5.
      see OIG Investigation No. 2010-311, Exhibit M to COH's MSJ,
     10

filed on a CD, Docket Entry No. 75.
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evidence to determine the identity of any person or persons who

participated in this criminal act." 11        OIG sent its findings to
Acting Fire Chief Rick Flanagan, who took no action.
     On April 6, 2010, Draycott amended her EEOC charge to include
a charge of retaliation. 12
     In April of 2010 Draycott returned to work the B shift at
Station 54 without incident.
     On August 9, 2010, Draycott injured her knee at work and left
to see a doctor.       That same day,      she received news from the

District Attorney in Phoenix, Arizona, who was prosecuting a case
arising from the crash that killed her daughter, that the person
responsible for the crash would not receive              any   jail time.
Disturbed by this news, Draycott drank a bottle of vodka at her
daughter's grave.    Draycott then went to Wal-mart, picked up some
merchandise, went to get a bag of ice past the check-out line, kept
going, and was arrested for shoplifting.          Following her arrest,
Draycott was hospitalized, and placed on relief of duty status with
pay pending evaluation of her psychological fitness for duty. 13



      See March 30, 2010, Letters from G. Buenik, Inspector
     11

General, to J. Draycott and P. Keyes, Exhibit 56 to USA's Response
in Opposition to COH's MSJ, Docket Entry No. 101-1, pp. 2 and 3.
      See Charge of Discrimination, Exhibit 57 to USA's Response
     12

in Opposition to the COH's MSJ, Docket Entry No. 105-43, pp. 2-13.
     13 See October 7, 2010, Letter from T. Garrison, Fire Chief, to
Jane Draycott, Exhibit 75 to USA's Response in Opposition to COH's
MSJ, Docket Entry No. 105-48, p. 2.
                                   -11-
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     In October of 2010 Draycott reached out to the Houston

Firefighters Relief and Retirement Fund ( "HFRRF")              to begin the
process of seeking disability pension benefits.             As part of the
process,     Dr.   Metcalfe   prepared    and   submitted   a   "Physician's
Certificate of Applicant's Disability" to the HFRRF in which he

opined that Draycott's disability was "likely to be permanent" and

was the result of an "on-duty illness/ accident." 14
     On December 16 and 27, 2010, Forensic Psychiatrist, Dr. Larry

Nahmias,     examined Draycott at the COH's request.             Dr. Nahmias
concluded that Draycott was "not psychologically fit to perform her
duties as a firefighter presently or in the future, " 15 and was

"suffering from significant and severe psychological problems that
prevent her from returning to her usual occupation.             Her symptoms

cause her permanent total impairment in her usual occupation." 16
     On June 27, 2011, at the request of the HFRRF, Draycott was
examined by independent psychiatrist, Dr. William K. Drell, who
found her permanently unable to work as a firefighter, and stated,




      Physician's Certificate of Applicant's Disability completed
     14

by William E. Metcalfe, M.D., Exhibit 7 to the COH's Corrected
Motion to Exclude Mental Health Experts' Testimony, Docket Entry
No. 85- 8, p. 2.
     15
       Nahmias Evaluation, Exhibit 5 to the COH's Corrected Motion
to Exclude Mental Health Experts' Testimony, Docket Entry No. 85-6,
p. 10.
     16
          Id. at 11.
                                   -12-
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"I do believe Mrs. Draycott's disabling symptoms are directly

related to her work related incidents." 17
     In July of 2011 Draycott resigned because she was not able to
work as a firefighter.
     On August 7, 2012, Dr. Drell re-evaluated Draycott, and again

concluded that "her disability was directly caused by experience
with the fire department," and stated that "I do not believe she

can perform the usual and customary duties of a firefighter/EMT due
to her Post Traumatic Stress Disorder. I do anticipate her ability

to work for HFD will be permanent."18

     On or about April 4, 2016, "the EEOC sent letters advising
that 'efforts to conciliate this charge as required by Title VII .
     have been unsuccessful' and that the charges were being
referred to the Department of Justice." 19
     In October of 2017, HFD staff psychologists, Dr. Jana Tran and
Dr. Sam Buser, produced a memo            ( "Tran-Buser Memo") that they


      July 11, 2011, Letter from William K. Drell to Glenna Hicks,
     17

Deputy Director of Member Services, Exhibit 79 to USA's Response in
Opposition to COH's MSJ, Docket Entry No. 103-7, p. 4.
      August 13, 2012, Letter from William K. Drell to Glenna
     18

Hicks, Deputy Director of Member Services, Exhibit 80 to USA's
Response in Opposition to COH's MSJ, Docket Entry No. 103-8, p. 4.
      See Declaration of Jeremy P. Monteiro, Esq., in Support of
     19

Plaintiff United States' Response in Opposition to the City of
Houston's Motion for Summary Judgment ( "Monteiro Declaration"),
p. 1, 3, Exhibit 1 to USA's Response in Opposition to COH's MSJ,
Docket Entry No. 105-5, p. 1 , 3 (citing Attachment A, April 4,
2016, Letters from EEOC to the City of Houston Legal Department Re:
Conciliation Failure (Draycott and Keyes Charges)).
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provided to HFD command staff stating the findings from a survey of

female firefighters that they undertook in an effort to determine
how the HFD compared to fire departments across the country with
respect to gender discrimination and harassment in a range of
categories including, shunning and isolation, verbal harassment,

pornography, hazing, and hostile notes.           In pertinent part the
Tran-Buser Memo stated:
     We surveyed our women based on the April 2008 National
     Report Card on Women in Firefighting, which documented
     gender discrimination and harassment problems in
     departments across the nation. How did HFD compare? . .
     . Our HFD female firefighters were given the opportunity
     to elaborate. In reviewing their responses, it was clear
     that they are often faced with harassment, bullying, and
     discrimination.     Specifically, they gave personal
     accounts of sexual advances, walking in on men watching
     porn, and finding pornographic material at the station.
     They described incidents of being bullied by their crew,
     being told they are not good enough, and not having the
     same opportunities as men to prove themselves. 20
     On February 28, 2018, the United States filed this action for
gender discrimination, hostile work environment and retaliation
against the COH.   The United States subsequently notified Draycott
and Keyes of their right to intervene, and on March 29, 2018, they
filed their complaint in intervention.




      october 5, 2017, Memo to HFD Command Staff from Dr. Jana Tran
     20

& Dr. Sam Buser, HFD Staff Psychologists, Exhibit 81 to USA's
Response in Opposition to COH's MSJ, Docket Entry No. 105-49, p. 2.
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       II.   Motions to Exclude, Limit, and Strike Evidence

     Citing Rule 702 of the Federal Rules of Evidence, Daubert v.
Merrell Dow Pharmaceuticals, Inc., 113 S. Ct. 2786 (1993), and its
progeny, the United States moves to exclude the opinion testimony

of the COH's designated economics expert, Dr. Dwight D. Steward
(Docket Entry No. 81), and the COH moves to exclude or limit the
opinion testimony of the United States' designated economics
expert, Dr. Jon Wainwright (Docket Entry No. 82), and mental health
experts, Dr. Metcalfe and Dr. Drell (Docket Entry Nos. 83 and 85).
The COH also seeks to exclude Dr. Drell's testimony by arguing that
the United States' designation of him as an expert witness does not
comply with Rule 26(a) (2) (C). Citing Federal Rule of Evidence 702,
the COH objects to and moves to strike the United States' Summary
Judgment Exhibit 81 (Docket Entry No. 105-49), the October 5, 2017,
Tran-Buser Memo prepared and distributed to HFD Command Staff by
HFD Staff Psychologists,      Dr. Jana Tran and Dr. Sam Buser,          and
citing Federal Rules of Evidence 801 and 802, the COH also moves to
strike as hearsay the United States Summary Judgment Exhibit 28
(Docket Entry No. 104), the Statement of Margaret Roberts (Docket
Entry No. 120).




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A.   Applicable Law

     Federal Rule of Evidence 702 allows expert testimony to be
admitted that assists the trier of fact to understand the evidence
or determine a fact in issue.     Fed. R. Evid. 702.       Rule 702 states:

     A witness who is qualified as an expert by knowledge,
     skill, experience, training, or education may testify in
     the form of an opinion or otherwise if:
          (a) the expert's scientific, technical, or other
     specialized knowledge will help the trier of fact to
     understand the evidence or to determine a fact in issue;
             (b)   the testimony is based on sufficient facts or
     data;
          (c) the testimony is            the   product   of   reliable
     principles and methods; and
          (d) the expert has reliably applied the principles
     and methods to the facts of the case.
     When asked to do so, a district court must make a preliminary
determination as to whether the requirements of Rule 702 are
satisfied with respect to a particular expert's proposed testimony.
See Daubert, 113 S. Ct. at 2796 (citing Fed. R. Evid. 104(a) ("The
court must decide any preliminary question about whether a witness
is qualified,         . or evidence is admissible.").          Courts act as
gatekeepers of expert testimony "to make certain that an expert,
whether basing testimony upon professional studies or personal
experience, employs in the courtroom the same level of intellectual
rigor that characterizes the practice of an expert in the relevant
field."   Kumho Tire Co. 1 Ltd. v. Carmichael, 119 S. Ct. 1167, 1176
(1999). The party offering the expert's testimony bears the burden

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of proving by a preponderance of the evidence that: (1) the expert

is qualified;   (2) the testimony is relevant to an issue in the
case; and (3) the testimony is reliable.         Daubert, 113 S. Ct. at

2794.   See also    Pipitone v. Biomatrix, Inc., 288 F.3d 239, 244

(5th Cir. 2002) (" [E)xpert testimony is admissible only if it is

both relevant and reliable.").
     To be qualified an expert "witness must have such knowledge or

experience in [his] field or calling as to make it appear that his

opinion or inference will probably aid the trier in his search for
truth." United States v. Hicks, 389 F.3d 514, 524 (5th Cir. 2004),
cert. denied, 126 S. Ct. 1022 (2006) (quoting United States v.
Bourgeois, 950 F.2d 980, 987 (5th Cir. 1992)).         To be relevant the
reasoning or methodology underlying the expert's testimony must be
applicable to the facts in issue.         See Curtis v. M&S Petroleum,
Inc., 174 F.3d 661, 668 (5th Cir. 1999) (citing Daubert, 113 S. Ct.
at 2796).   To be reliable the reasoning or methodology underlying
the expert's testimony must be scientifically valid.             Id.   "The
proponent need not prove to the judge that the expert's testimony
is correct, but she must prove by a preponderance of the evidence
that the testimony is reliable." Moore v. Ashland Chemical, Inc.,
151 F.3d 269, 276 (5th Cir. 1998) (en bane), cert. denied, 119 S.
Ct. 1454 (1999).    See also Guy v. Crown Equipment Corp., 394 F.3d
320, 325 (5th Cir. 2004) ("Although the Daubert analysis is applied
to ensure expert witnesses have employed reliable principles and


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methods in reaching their conclusions, the test does not judge the

expert's conclusions themselves.").
     The Fifth Circuit has recognized that Daubert articulated a

non-exclusive,     list     of     flexible    criteria   for     determining

reliability, including:

     (1) whether the expert's theory can be or has been
     tested; (2) whether the theory has been subject to peer
     review and publication; (3) the known or potential rate
     of error of a technique or theory when applied; (4) the
     existence and maintenance of standards and controls; and
     (5) the degree to which the technique or theory has been
     generally accepted in the scientific community.
Moore, 151 F.3d at 275 (citing Daubert, 113 S. Ct. at 2796-97).

Not all of the factors will necessarily apply to every expert's
testimony.    See Watkins v. Telsmith, Inc., 121 F.3d 984, 990-91
(5th Cir. 1997). The court should first decide whether the factors
mentioned in Daubert apply, and then consider whether other factors
not mentioned in Daubert are relevant to the case.               See Black v.
Food Lion, Inc., 171 F.3d 308, 310-12 (5th Cir. 1999).                See also
Moore, 151 F.3d at 275       &   n. 6 (recognizing that expert medical
testimony is governed by Daubert analysis).
     Disclosure of expert testimony is governed by Federal Rule of
Civil Procedure 26.         If a party retains an expert to provide
testimony in anticipation of litigation            (a retained testifying
expert), the party must provide a written report that includes the
facts or data considered by the expert, any exhibits to be used to
summarize    or   support    the    expert's    testimony,      the   expert's
qualifications, a list of cases in which the expert has testified

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previously, and a statement of compensation.                   Fed. R. Civ.    P.

26(a)(2)(B).        If   the   party    does    not   retain    the   expert   in

anticipation of litigation (a non-retained expert), the party need
only provide a disclosure stating "(i) the subject matter on which
the [expert]   is expected to present evidence                        and (ii) a

summary of the facts and opinions to which the [expert] is expected

to testify."       Fed. R. Civ. P. 26(a)(2)(C).         The Rule 26(a)(2)(C)

disclosure requirement applicable to non-retained experts was added

in 2010 and is intended to be less stringent than the requirements
applicable to retained experts.                Fed. R. Civ. P. 26 advisory
committee's note (2010).          Rule 26's disclosure requirements are

intended to prevent prejudice and exclude surprise as a factor in
the outcome of trials.          See Joe Hand Promotions, Inc. v. Chios,

Inc., 544 F. App'x 444, 446 (5th Cir. 2013)(per curiam).
     Courts do not rely solely on the labels used by the parties in
their disclosures.       A court may find that a party mischaracterized
an expert as non-retained, for example, when the party should have
characterized the expert as retained,              and thus hold the party
subject to the Rule 26(a)(2)(B) report requirement.               See Mccranie
v. Home Depot U.S.A.,          Inc., No. 4:15-CV-00423-ALM-CAN, 2016 WL
7626597, * 6   &   n. 2 (N.D. Tex. August 25, 2016) (citing Skyeward
Bound Ranch v. City of San Antonio, No. SA-l-CV-0316-XR, 2011 WL
2162719, at * 3 n. 25 (W.D. Tex. June 1, 2011).




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B.      Analysis

        1.    The USA's Motion to Exclude Steward's Testimony and the
              COH's Motion to Exclude Wainwright's Testimony
        The United States' economics expert, Dr. Wainwright, submitted
his initial report on March 25, 2019, estimating the present value
of the economic loss Draycott suffered as a result of her alleged

constructive discharge from HFD, as falling between $1,200,278 and

$1,248,335. 21      Dr. Wainwright issued a revised report in July of

2019, concluding that the present value of Draycott's economic loss
falls between $748,461 and $929,747. 22            In both of his reports,
Dr. Wainwright relied on the medical evaluations produced by
Dr. Nahmias, who was hired by the COH to evaluate Draycott's
fitness for duty, and Dr. Drell, who was hired by HFRRF to evaluate
Draycott's eligibility for disability retirement benefits.                Based
on the evaluations of Dr. Nahmias and Dr. Drell, Dr. Wainwright
concluded that Draycott was not fit to perform the duties of an HFD
firefighter. 23


       Estimation of Economic Losses for Jane Draycott, Exhibit 1
        21

to USA's Motion to Exclude Steward Testimony, Docket Entry No. 81-
1 , pp. 8 - 9 1 5 .

      Estimation of Economic Losses for Jane Draycott, Exhibit 2
        22

to USA's Motion to Exclude Steward Testimony, Docket Entry No. 81-
2, pp. 7-8 1 5.
      See id. , at p. 7 1 4 ( "Both of these evaluations conclude
        23

that Mrs. Draycott is prevented from returning to work in her usual
occupation. Therefore, the only post-departure earnings I have
included in my estimate of loss for Mrs. Draycott are those from
her HFD On-Duty Occupational Disability Retirement Pension and her
                                                     (continued... )
                                       -20-
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     The COH retained Dr. Steward, an economist and statistician,

as its expert to rebut Dr. Wainwright's reports.              Dr. Steward

submitted an initial report in            April of 2019 responding to
Dr. Wainwright's March 2019 report,24 and a supplemental report in
July of 2019 responding to Dr. Wainwright's July 2019 report.25


           (a)   The USA's Motion to Exclude Dr. Steward's Testimony
                 Will Be Granted
     The United States moves to exclude the opinion testimony of

the COH's designated economics expert Dr. Steward
     on what jobs Ms. Draycott "could have been, and still can
     be, expected to obtain" (Ex. 3 at 11 40-41, 43), as well
     as his opinion that Ms. Draycott "is in fact employable"
     (Ex. 3 at 1 39), because these opinions fail to meet the
     requirements of Federal Rule of Evidence 702. Dr. Steward
     is an economist and statistician. He is not a physician
     and has no medical training.           By opining that
     Ms. Draycott can "be expected to obtain" different types
     of employment and that she "is in fact employable"
     without considering medical conclusions from the City's
     own doctor that Ms. Draycott suffered a permanent
     impairment which prevents her from working as a
     firefighter, Dr. Steward goes beyond his expertise as an
     economist and statistician. As a result, Dr. Steward's


       ( ••• continued)
     23

one time $5,000 Additional Disability Retirement Benefit."). See
also Estimation of Economic Losses for Jane Draycott, Exhibit 1 to
USA's Motion to Exclude Steward Testimony, Docket Entry No. 81-1,
p. 8 1 4 (same).
      Expert Report Dwight D. Steward, Ph.D. Economist April 25,
     24

2019 ("Steward Report"), Exhibit 3 to USA's Motion to Exclude
Steward Testimony, Docket Entry No. 81-3.
      Supplement Expert Report Dwight D. Steward, Ph.D. Economist
     25

July 15, 2019 ("Steward Supplement Report"), Exhibit 4 to USA's
Motion to Exclude Steward Testimony, Docket Entry No. 81-4.
                                   -21-
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     opinions addressing Ms. Draycott's employability and
     employment opportunities available to her are neither
     helpful nor reliable, and should be excluded.26
The United States argues that
      [i]n paragraph 39, Dr. Steward opines that Ms. Draycott
     "is in fact employable," asserting that Dr. Wainwright
     employed a false assumption.           In paragraph 40,
     Dr. Steward states Ms. Draycott "could have been, and can
     still be, expected to obtain" replacement employment, and
     he identifies three occupations - Fire Inspector, Forest
     and Conservation Worker, and Hazardous Material Removal
     Worker - as jobs similar to a Firefighter-EMT that
     Ms. Draycott "could reasonably be expected to obtain." .
     . . In paragraph 43, Dr. Steward states that Ms. Draycott
     "could have been expected to obtain a comparable job
     within a reasonable period of time .      "

            As shown below, Dr. Steward's opinions regarding
     what (if any) employment Ms. Draycott could obtain are
     not reliable and not helpful.        Dr. Steward is not
     qualified to opine that Ms. Draycott could obtain
     comparable work (see Ex. 3 at 11 39, 40-41, 43) given the
     medical diagnoses from two physicians determining that
     Ms. Draycott has impairments impacting her ability to
     work.     In forming his opinions on her employability,
     Dr. Steward failed to consider the diagnoses of not only
     the City's own examining physician, but also that of the
     pension      fund's  examining  physician.       Further,
     Dr. Steward's opinions cannot assist in the determination
     of whether Ms. Draycott can work and, if so, what
     occupations might be suitable because he admits he is not
     qualified to opine on whether Ms. Draycott can perform
     any of the jobs he identifies in his report and because
     he testified that he is not actually offering an opinion
     on whether she can work.            For these reasons,
     Dr. Steward's opinions on Ms. Draycott's employability
     are not helpful and not reliable, and should be
     exc 1 uded.27


     26
          USA's Motion to Exclude Steward Testimony, Docket Entry
No. 81, p. 9.

      Id. at 8-9.
     27
                    See also Plaintiff United States' Reply in
Support of Its Motion to Exclude Testimony of Defendant's Expert
                                                   (continued...)
                                   -22-
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The    United     States   "requests that this    Court issue on Order

excluding Dr. Steward from opining on Ms. Draycott's employability
and employment opportunities available to her for purposes of the
United States' pending motion for summary judgment and for trial." 28
       The COH responds that "Dr. Steward provided his opinion that

Dr. Wainwright inappropriately assumed that Draycott was, is, and

will always be unemployable.        Plaintiff has moved to exclude the
opinion testimony of Dr. Steward in that regard.                Plaintiff's

motion should be denied." 29      The COH argues that
        [w]hile the record in this case includes some opinions
       that Draycott cannot return to work at her own occupation
       as a firefighter, nobody has ever said that she is unable
       to work at any occupation whatsoever. Therefore, it was
       appropriate for Dr. Steward to provide the opinion that
       Dr. Wainwright should have considered whether Draycott
       could work as a Fire Inspector, Forest and Conservation
       Worker    or   Hazardous   Materials    Removal   Worker.
       Dr. Steward is qualified to provide this opinion, and all
       the opinions in his expert report.          Additionally,
       Dr. Steward's testimony will assist the trier of fact in
       determining whether Draycott is entitled to recover
       damages for lost wages.      Accordingly, Defendant has
       proved, by a preponderance of the evidence, that
       Dr. Steward's testimony satisfies Daubert. 30




          continued)
       27 (
            •••

Dr. Dwight D. Steward, Docket Entry No. 129, pp. 5-9 (arguing that
Dr. Steward's Testimony on Draycott's employability is unreliable) .
       28
            USA's Motion to Exclude Steward Testimony,        Docket Entry
No.   81,     p. 18.
      Defendant's Response in Opposition to Plaintiff United
       29

States' Motion to Exclude Testimony of Defendant's Expert
Dr. Dwight D. Steward, Docket Entry No. 122, p. 5.
       30
            Id. at 8-9.
                                    -23-
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      "[E]xpert testimony is admissible only if it is both relevant

and reliable."      Pipitone, 288 F.3d at 244.      The United States does
not    argue      that    Dr.     Steward's   opinions    about     Draycott's
employability are not relevant but, instead, argues only that his
opinions that she is employable, and can be expected to obtain

replacement employment as a Fire Inspector, Forest and Conservation
Worker,    or Hazardous Material Removal Worker,            as expressed in
11 39-41 and 43 of his report, are not reliable because he is an
economist and statistician unqualified to render opinions as to her
future employability.           The court agrees.
      In   1 39 Dr. Steward asserts that                 "[i]n    contrast   to
Dr. Wainwright's flawed assumption, Mrs. Draycott .                 is in fact
employable." 31     In   11 40-41 and 43 Dr. Steward asserts:
      40. If Mrs. Daycott were to consistently and diligently
      seek comparable replacement employment, she could have
      been, and still can be, expected to obtain a job position
      with comparable earnings to what she was making at HFD.
      Generally accepted and widely used sources such as the
      United States Bureau of Labor Statistics            (BLS)
      Occupational Outlook Handbook (OOH) identify a number of
      related and similar positions and occupations that
      Mrs. Draycott could reasonably be expected to obtain
      given her employment background and experience.       For
      instance, the jobs that the OOH identifies as similar job
      positions to a Firefighter-EMT include Fire Inspectors,
      Forest and Conservation Workers, and Hazardous Materials
      Removal Workers. The BLS OOH is a widely used labor
      market resource that is generally relied upon by labor
      economists in my area of research.          The salaries
      associated with these similar job positions are
      comparable to Mrs. Draycott's salary at HFD.


      Steward Report, Exhibit 3 to USA's Motion to Exclude Steward
      31

Testimony, Docket Entry No. 81-3, p. 17 1 39.
                                       -24-
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     41. From 2013 through 2018, the Texas Workforce
     Commission (TWC) shows that there were at least 87 job
     openings for Fire Inspectors, Hazardous Material Removal
     Workers and Forest and Conservations Workers in the
     Houston area that Mrs. Draycott could have applied for
     during this time period.    . TWC job openings data from
     March 2019 show there were 24 job openings for Fire
     Inspectors, Hazardous Material Removal Workers and Forest
     and Conservation Workers in the Houston area.          If
     Mrs. Draycott were to pursue employment opportunities as
     a firefighter, either in the private or public sector,
     her job opportunities would be even higher.     It is my
     understanding that Mrs. Draycott has not attempted to
     obtain employment in a similar position or any job
     position.    Dr. Wainwright does not consider that
     Mrs. Draycott may obtain employment in any type of
     positions at some point in the future.


     43. Mrs. Draycott could have been expected to obtain a
     comparable job position within a reasonable period of
     time if she were to have performed a sufficiently
     diligent and consistent job search for comparable
     employment.    Labor market data from the BLS Current
     Population Survey (CPS) indicate that Mrs. Draycott could
     have been expected to obtain comparable employment within
     approximately 11 to 25 weeks of beginning a sufficient
     job search following her employment termination in July
     2011.      32



     Missing from Dr. Steward's report is any consideration of the
impact that Draycott's disability and permanent inability to work

as a firefighter has on her future employability.               During his
deposition Dr. Steward admitted that (1) he is not qualified to
offer an opinion as to whether Draycott is physically or mentally
able to perform any of the jobs comparable to her firefighter
position that he opined were available had she searched for a job,



     32
          Id. at 17-19 11 40-41 and 43.
                                   -25-
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and (2) he did not consider whether she is mentally able to perform

any of those jobs:

     Q.      So are you qualified to offer an opinion as to
             whether Ms. Draycott was physically able to perform
             any of those jobs?
     A.      No.

     Q.      Did you consider Ms. Draycott's mental abilities to
             perform any of those jobs?
     A.      I don't consider any of these factors. Again, my
             analysis is not an analysis of Ms. Draycott. I am
             telling you what Dr. Wainwright needs to do in his
             analysis. So I did not look at her mental state.
             That's not, has nothing to do with my expertise.

     Q.      If you could answer my question, that would be
             great.   Did you consider Ms. Draycott's mental
             ability to perform any of these jobs? It's a yes
             or no answer.
     A.      Did I consider     no.

     Q.      Thank you.    And are you qualified to offer an
             opinion as to whether Ms. Draycott was mentally
             able to perform any of these jobs?
     A.      Again, what jobs are you referring to?

     Q.      The -- you've identified fire inspector, hazardous
             materials removal worker and forest conservation
             worker.
     A.      Yes, but that's what I'm telling you.     I didn't
             identify those as jobs that she can work.        I
             identified those as jobs that Dr. Wainwright needs
             to look at as potential jobs that she can work at.
             I'm not -- so no, I did not look at any of that,
             because that's not my opinion. I'm not performing
             an analysis of Ms. Draycott. I'm telling you what
             Dr. Wainwright needs to consider.33


     33   0ral Deposition of Dwight D.      Steward,   Ph.D., pp. 125:8-
                                                           ( continued...)
                                   -26-
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Moreover, when asked about the use of vocational experts in injury
cases and whether there was an injury aspect to this case,
Dr. Steward acknowledged that he typically relies on a vocational

expert to tell him what jobs the injured party can do, that he knew
there was a post-traumatic stress issue in this case, but he did

not "know how that relates to this case [and that it was] outside
of [his] area.        11
                           34



     Because Dr. Steward has testified that he is not qualified to
offer an opinion as to whether Draycott was physically or mentally
able to perform any of the jobs that he opined were available and
she would have found had she searched for a job, that he did not
consider whether she is physically or mentally able to perform
those jobs, and that in cases involving impairments, he typically
relies on a vocational expert to tell him what jobs the impaired
person can do, the court concludes that Dr. Steward's                  opinions
that Draycott is "in fact employable,      11
                                                35
                                                     that she "could have been,
and still can be expected to obtain a job position with comparable
earnings to what she was making at HFD, 1136 that "[f] rom 2013 through


     33
          continued)
          ( •••
126:11, Exhibit 5 to USA's Motion to Exclude Steward Testimony,
Docket Entry No. 81-5, p. 32.
      Id. at pp. 184: 17-185: 7, Exhibit 5 to USA's Motion to Exclude
     34

Steward Testimony, Docket Entry No. 81-5, pp. 46-47.
      Steward Report, Exhibit 3 to USA's Motion to Exclude Steward
     35

Testimony, Docket Entry No. 81-3, p. 17 1 39.
     36
          Id.     1 40.
                                   -27-
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2018, the . . . TWC shows that there were at least 87 job openings
for Fire Inspectors, Hazardous Material Removal Workers and Forest
Conservations Workers in the Houston area that Mrs. Draycott could
have applied for,"37 and/or that she "could have been expected to

obtain a comparable job position within a reasonable period of

time,"38 are neither relevant nor reliable, and would not assist the
trier of fact to understand the evidence or determine a fact at
issue in this case.          See Fed. R. Evid. 702.     See also Moore v.
International Paint, L.L.C., 547 F. App'x 513, 515 (5th Cir. 2013)
(per    curiam) ("[E]xpert     testimony    that   relies   on   'completely
unsubstantiated factual assertions' is inadmissible.") (citations
omitted).     See also Dunmiles v. Jubilee Towing, LLC, No. CV-16-
14325, 2017 WL 1212091, at *4 (E.D. La. April 3, 2017) ("when
calculating future lost wages, economists typically rely on other
experts - such as vocational rehabilitation experts - to advise
them as to the income a plaintiff can probably earn due to his
injuries. Economists then use that information in conjunction with
actuarial data to estimate the wage loss the plaintiff will
probably sustain over the course of his lifetime."). Accordingly,
the USA's motion to exclude Steward's testimony as to Draycott's
employability as expressed in 11 39, 40-41, and 43 of his report
will be granted.



       37Id. at 18   1 41.
       3sid. at 19   1 43.
                                     -28-
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              (b)     The COH's Motion to Exclude Wainwright's Testimony
                      Will Be Denied
     The      COH         moves   to    strike       or    limit   the   testimony     of

Dr. Wainwright, plaintiffs' designated expert on economic loss
arguing that "it is unhelpful and not based on sufficient facts
and/or data or reliable principles and methods. " 39                     Asserting that

"Dr. Wainwright should not be permitted to testify because all of
his opinions regarding Draycott's lost earnings and benefits are
unreliable and inadmissible," 40 the COH argues that Dr. Wainwright's
     opinions and conclusions regarding [Draycott's] economic
     damages are not based on sufficient facts and are not the
     product of reliable, verifiable, principles and methods.
     Because his testimony is based on speculation and
     conjecture, it cannot be used to support [Draycott's]
     claims for damages, and he should not be permitted to
     testify. 41
The COH argues that Dr.                 Wainwright's opinions are unreliable
because      he     (1)      failed    to   base     his   damages   calculations      on
Draycott's gross earnings,                  ( 2)   relied on improper assumptions
regarding     Draycott's          earnings         from   higher   classification     and
overtime pay,         ( 3)    improperly assumed that Draycot t would have
worked until age 56, (4) failed to mention or analyze Draycott's
ability to mitigate her losses by future employment,                     (5)   improperly
assumed that HFD would have provided Draycott an annual salary


     39
          COH's Motion to Exclude Wainwright Testimony, Docket Entry
No. 82, p. 6.
     40
          Id. at 16.
     41Id.
                                              -29-
  Case 4:18-cv-00644 Document 137 Filed on 05/15/20 in TXSD Page 30 of 105



increase of 2.05%,           and      (6) failed to base his pension-related
damages on facts.42
        The United States responds that the issues the COH has
identified         go   to   the      weight   of   the    evidence,     not   to   its
admissibility, and can be adequately addressed during the COH's

cross-examination of Dr. Wainwright.43                    The court agrees.
        For the reasons stated in § III.D, below, the COH's MSJ on

Draycott's constructive discharge claim will be denied.                        The COH
does not challenge Dr. Wainwright's qualifications, training, or

experience to provide an economic estimate of Draycott's economic
damages stemming from her constructive discharge. Nor does the COH
challenge any of Dr. Wainwright's calculations or methodologies.
Instead, the COH challenges the bases and sources of his opinions
and variables used in his calculations.                   If Dr. Wainwright missed
any important facts, the oversight should go to the weight of his
opinions, not to their admissibility.                   See Puga v. RCX Solutions,
Inc.,        922 F.3d 285,      294    (5th Cir. 2019)       ("As a general rule,
questions relating to the bases and sources of an expert's opinion
affect the weight to be assigned that opinion rather than its
admissibility.").            Accordingly,         the   COH's   motion    to   exclude
Dr. Wainwright's testimony will be denied.


        42
             Id. at 7, 16-29.
      Plaintiff United States' Response in Opposition to
        43

Defendant's Motion to Exclude or Limit Testimony of Dr. Wainwright,
Docket Entry No. 121, pp. 12 and 21.
                                           -30-
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      2.      The COH's Corrected Motion to Exclude Mental Health
              Experts' Testimony Will Be Denied
      On March 25, 2019, the United States designated Dr. Metcalfe
and   Dr.     Drell   as   expert   witnesses   under   Rule   26(a)(2)(C). 44
Asserting that Dr. Metcalfe is a psychologist who is expected to
offer testimony and provide opinions based on information learned

through medical treatment of Draycott between approximately 2009-
2013, and that Dr. Drell is a board certified psychiatrist who is
expected      to   offer   testimony    and   provide   opinions   based     on

information learned through treatment of Draycott in 2011-2012, the
United States stated that both Dr. Metcalfe and Dr. Drell may be
called to testify regarding:
      (1) Ms. Draycott's injuries sustained during her
      employment with HFD; (2) Ms. Draycott's conditions,
      symptomatology, diagnosis, and treatment resulting from
      the injuries sustained during her employment with HFD;
      (3) the cause(s) of Ms. Draycott's injuries, symptoms
      and/or condition sustained during her employment with
      HFD; (4) the authenticity and admissibility of any []
      medical records pertaining to Ms. Draycott he maintained;
      and (5) any pain and suffering, past and future,
      sustained by Ms. Draycott as a result of her employment
      with HFD. 45
      Asserting that plaintiffs seek to use the testimony of
Dr. Metcalfe and Dr.         Drell to establish that the incidents at
Station 54 caused Draycot t to develop mental health issues in


      Plaintiff United States' Disclosures Pursuant to Federal Rule
      44

of Civil Procedure 26(a)(2), Exhibit 1 to COH's Corrected Motion to
Exclude Mental Health Experts' Testimony, Docket Entry No. 85-2,
pp. 2-3.
      45
           Id. at 2 (Dr. Metcalfe) and p. 4 (Dr. Drell) .
                                       -31-
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support of her claim for constructive discharge, the COH moves to
exclude or limit their testimony by arguing that they "are not
qualified to testify regarding causation and/or their testimony is
not based on sufficient facts and/or data or reliable principles
and methods. 1146   The COH argues that

      [n]either Dr. Metcalfe nor Dr. Drell were qualified to
     perform an occupational disability assessment. Nor are
     they qualified to provide opinions regarding whether
     Draycott was harassed while at HFD (an ultimate issue for
     the jury). They are not qualified to provide opinions
     regarding the cause of Draycott's mental health
     diagnoses. Further, their opinions regarding the cause
     of Draycott's mental health issues are not reliable
     because they are based on Draycott's unreliable and
     incomplete account of her contributing life experiences.
     And, neither purported expert's opinions are reliable or
     based on sound medical practices, because neither of them
     performed a differential diagnosis before reaching their
     conclusions.47
Citing Daubert, 113 S. Ct. at 2786, the COH argues that
     [t]he opinions of Dr. Metcalfe and Dr. Drell go beyond
     their expertise, and their methodologies in reaching
     their causation opinions are not reliable. Therefore,
     testimony by Dr. Metcalfe and Dr. Drell on causation will
     not assist the trier of fact.48
The COH also argues that Dr. Drell's testimony should be excluded
because "Plaintiff did not accurately disclose the subject matter
on which Dr. Drell is expected to present evidence. 1149



     46COH's Corrected Motion to Exclude Mental Health Experts'
Testimony, Docket Entry No. 85, p. 6.
     47Id. at 10-11.
     4Bid. at 11.
     49Id. at 30.

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     Asserting that they have no intention of asking any medical
expert whether the acts Draycott alleged occurred violated Title
VII or constituted discrimination or retaliation, 50 plaintiffs argue
that the opinions of Dr. Metcalfe and Dr. Drell regarding the cause
of Draycott's mental health conditions are admissible because both

experts are qualified, and their opinions are both relevant and

reliable.51   The United States argues that
      [n] either witness was retained by any party in this
     litigation. Rather, both witnesses treated and evaluated
     Ms. Draycott within their ordinary course of business
     using techniques and methods that are accepted within
     their professions. The United States seeks only to offer
     testimony from these medical professionals that was
     reached based on their personal knowledge and
     observations obtained during their course of care,


      Plaintiff United States' Response to Defendant City of
     50

Houston's (Corrected) Motion to Exclude or Limit Testimony of
Plaintiff's Designated Mental Health Experts ("USA's Response to
COH's Motion to Exclude Mental Health Experts' Testimony"), Docket
Entry No. 126, p. 6 ("The United States did not designate either
witness to provide testimony as to whether the events that give
rise to this litigation or were relayed to them by Ms. Draycott
amount to a violation of Title VII, and the United States will not
seek such opinion testimony at trial.") and p. 23 ("With respect to
the City's argument that Dr. Drell should not be allowed to opine
that Ms. Draycott' s allegations amount to a violation of Title
VII's prohibition against workplace harassment, the United States
has no intention of eliciting such testimony."); Plaintiff­
Intervenor Jane Draycott's Response to Defendant City of Houston's
Motion to Exclude or Limit Testimony of Plaintiff's Mental Health
Experts ("Draycott's Response to COH's Motion to Exclude Mental
Health Experts' Testimony"),      Docket Entry No. 127, p. 4
("Plaintiff-Intervenor has no intention of asking any medical
expert whether the acts Draycott alleged occurred violated Title
VII or was discrimination or retaliation.").
      USA's Response to COH's Motion to Exclude Mental Health
     51

Experts' Testimony, Docket Entry No. 126, pp. 13-30; Draycott's
Response to COH's Motion to Exclude Mental Health Experts'
Testimony, Docket Entry No. 127, pp. 5-16.
                                   -33-
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     treatment, or evaluation of Ms. Draycott. Such testimony
     includes their diagnoses and prognoses regarding
     Ms. Draycott, their opinions that Ms. Draycott could no
     longer work as a firefighter, and their opinions that the
     events at HFD caused Ms. Draycott's inability to continue
     as a firefighter.    These are all facts upon which the
     United States bases its claims. The City does not like
     the testimony these medical professionals will provide,
     has failed to retain an expert to counter these medical
     professionals, and now seeks to prevent these medical
     professionals    from    testifying    regarding    their
     conclusions.   The Court should deny the City's motion
     seeking to limit or exclude Dr.          Metcalfe's and
     Dr. Drell's testimony on the issue of causation. 52
Plaintiffs also argue that the COH's complaint the subject matter
on which Dr.     Drell is expected to testify was not accurately
disclosed has no merit. 53


           (a)   Additional Law
     Courts have recognized that treating physicians,              who are
experts regarding medical care, confound easy application of the
law governing expert witnesses, particularly where a party seeks to
use their expertise to testify to matters of causation.                  See
Mccranie, 2016 WL 7626597, at * 6.        Although the Fifth Circuit has
not yet ruled on (i)      the applicability of Rule 26(a) (2) (C)            to
non-retained treating physicians or (ii) the scope of the testimony
permitted by such experts where proper disclosure is made, the



      USA's Response to COH's Motion to Exclude Mental Health
     52

Experts' Testimony, Docket Entry No. 126, pp. 6-7
      Id. at 28-30. See also Draycott's Response to COH's Motion
     53

to Exclude Mental Health Experts' Testimony, Docket Entry No. 127,
pp. 16-17.
                                   -34-
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trend among district courts in the Fifth Circuit is toward applying

Rule 26(a)(2)(C) to treating physician experts.                   Id.    Treating
physicians,    therefore,     generally      qualify     as   Rule    26(a)(2)(C)
witnesses subject only to disclosure of a summary of the facts and
opinions on which the physician intends to rely. See Fed. R. Civ.
P. 26 advisory committee's notes (2010) ("A witness who is not

required to provide a report under Rule 26(a)(2)(B) may both
testify as a fact witness and also provide expert testimony
Frequent     example?     include    physicians     or    other      health   care
professionals . . . Parties must identify such witnesses                      . and
provide the disclosure required under Rule 26(a)(2)(C) [, which]
does not include facts unrelated to the expert opinions the witness
will present.").        See also See Mccranie, 2016 WL 7626597, at * 6
(citing LaShip, LLC v. Hayward Baker, Inc., 296 F.R.D. 475, 478
(E.D. La. 2013) ("A [Rule] 26(a)(2)(c) witness's opinion must be
based on facts or data obtained or observed in the course of the
sequence of events giving rise to the litigation.")).
     Where     a   treating    physician       is   qualified        under    Rule
26(a)(2)(C), courts typically require the physician's testimony to
remain within the bounds of "the facts and circumstances developed
during the care of the patient," which may "include opinions as to
causation, diagnosis, prognosis, and the extent of disability or
injury [,] " as long as such opinions were developed in the course of
diagnosis and treatment.            Id. at *7 (citing Jones v. Chevron
U.S.A., Inc., No. H-11-0851, 2012 WL 6652364, at *2 (S.D. Tex.

                                      -35-
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December 20, 2012)).     Such experts are generally allowed to offer

testimony as to causation only if the physician formed such an

opinion in the course of treatment. Id. (citing LaShip, 296 F.R.D.
at 479-81 (surveying other circuit courts before concluding that,
with regard to treating physicians, 26(a)(2)(C) applies and that,

where it does, the physician's "opinion must be based on facts or
data obtained or observed in the course of the sequence of events
giving rise to the litigation"); and Jones, 2012 WL 6652364, at *2
(limiting    a    nonretained   examining    expert's    trial    testimony
"regarding the cause of [claimant's] psychiatric condition . . . to
the opinions and conclusions actually expressed in his report");

Lindquist v. Union Pacific Railroad Co., No. 9:07-CV-27-TH, 2008 WL
4560603, at *l (E.D. Tex. Oct. 7, 2008) (limiting "nonretained
treating physician" testimony "to the facts and circumstances
developed during the care of the patient").


            (b)   The COH's Motion to Exclude Metcalfe Testimony Will
                  Be Denied
     The COH argues that        Dr. Metcalfe's      testimony should be
excluded or limited because he is not qualified to opine as to the
cause of Draycott's mental disability, and because his opinion that
her mental disability was caused by the events that occurred at
Station 54 is neither scientifically nor technically reliable.54



      COH's Corrected Motion to Exclude Mental Health Experts'
     54

Testimony, Docket Entry No. 85, p. 16.
                                   -36-
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                 (1)   Dr. Metcalfe is Qualified to Testify

     Dr. Metcalfe has been practicing psychology since 1994, 55 and
by the time he began treating Draycott in October of 2009 he had

served as either Director or Assistant Director of two university
counseling centers, obtained a job working at HPD's Psychological

Services   Division,    and   established    an   independent     part-time
practice performing psychological evaluations for people seeking
jobs as police officers in jurisdictions other than the COH. 56
Moreover, the COH acknowledges that
      [a]t all times relevant, Dr. Metcalfe was a staff
     psychologist in [HPD's] Psychological Services Division
     and his primary duties included (1) providing counseling
     services to all eligible employees and their family
     members; (2) conducting psychological evaluations to
     determine the ability of HPD applicants to perform
     police-oriented type work; (3) teaching classes in a
     variety   of   areas    such   as   stress    management;
     (4) consulting with HPD management's concerns about HPD
     officers and/or civilian employees; and (5) occasionally
     providing assistance at a shooting scene or other crisis­
     type situation.57




     55
       0ral Deposition of William Elton Metcalfe, Ph.D. ("Metcalfe
Deposition"), Exhibit 2 to COH's Corrected Motion to Exclude Mental
Health Experts' Testimony, p. 12:6-11, Docket Entry No. 85-3,
p. 13.
      Id. at 10:22-11:5, 12:16-16:25, Exhibit 2 to COH's Corrected
     56

Motion to Exclude Mental Health Experts' Testimony Docket Entry
No. 85-3, pp. 11-17.
      COH's Corrected Motion to Exclude Mental Health Experts'
     57

Testimony, Docket Entry No. 85, p. 16 (citing Metcalfe Deposition,
pp. 14:5-15:17, Exhibit 2 to COH's Corrected Motion to Exclude
Mental Health Experts' Testimony, Docket Entry No. 85-3, pp. 15-
16)
                                   -37-
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      The COH argues that Dr. Metcalfe is not qualified to opine as

to the cause of Draycott's mental disability because at the time he
provided the "Physician's Certificate of Applicant's Disability,"
for Draycott, he did not have any previous experience providing
assessments for purposes of disability retirement. 58 Asserting that

Dr.   Metcalfe   testified    he   felt   uncomfortable     providing    the
assessment that Draycott needed for her disability pension, 59 the
COH argues that his "opinion testimony that Draycott was disabled
as a result of an on-duty illness/injury should be stricken or
limited at summary judgment and/or at trial. 1160
      Although   Draycott    was   Dr.    Metcalfe's    first   disability
assessment, and he did not conduct any tests specifically for the
disability assessment, he testified that he had previously tested
Draycott and was qualified to make the assessment. 61 His discomfort
came from the fact that he was her treating psychologist and he




      Id. at 17 (citing Metcalfe Deposition, p. 77:1-10, Exhibit
      58

2 to COH's Corrected Motion to Exclude Mental Health Experts'
Testimony, Docket Entry No. 85-3, p. 78).
      Id. (citing Metcalfe Deposition, p. 125:6-126:7, Exhibit 2
      59

to COH's Corrected Motion to Exclude Mental Health Experts'
Testimony, Docket Entry No. 85-3, pp. 126-27).
      6oid.

      Metcalfe Deposition, p. 158:2-161:2, Exhibit 2 to COH's
      61

Corrected Motion to Exclude Mental Heal th Experts' Testimony,
Docket Entry No. 85-3, pp. 159-62.
                                   -38-
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thought an opinion of someone more detached might be better. 62

Because the record shows not only that Dr. Metcalfe has the
training and experience needed to counsel Draycott, but also that
he counseled Draycott for almost two years before she retired as
disabled, and because Dr. Metcalfe did not testify that he was not

qualified to provide the "Physician's Certificate of Applicant's
Disability" that he provided to Draycott in October of 2010, the
court concludes that Dr. Metcalfe is qualified to opine and testify
as to the causes of Draycott's mental health conditions.



                 (2)   Dr. Metcalfe's Opinions are Reliable

     Asserting that Dr. Metcalfe's opinion is based solely on what
Draycott reported to him, the COH argues that his testimony is not
reliable and that his       "opinion amounts to nothing more than
speculation and should be stricken." 63            The   COH   argues   that
Dr. Metcalfe's opinions are not reliable because he did not perform
any psychometric or other formal testing to support his opinion
that Draycott's disability resulted from events which occurred at
Station 54 for the purpose of receiving disability benefits, he did
not perform any differential diagnoses to rule out other possible



      Id. at 129:19-130:12, Exhibit 2 to COH's Corrected Motion to
     62

Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
p. 130-31.
      COH's Corrected Motion to Exclude Mental Health Experts'
     63

Testimony, Docket Entry No. 85, p. 20.
                                   -39-
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causes for Draycott's mental health conditions,                 and he did not

consult with or review medical records from Draycott's other

treating health care professionals. 64
      The COH faults Dr. Metcalfe's testing methods because he did
not do any testing            before filling out the          HFRRF     disability

evaluation.       But the testimony on which the COH relies shows only
that Dr. Metcalfe did not do any specific, additional, testing for
the   disability      evaluation.      Dr.   Metcalfe    testified        that    he
performed psychological testing on Draycott,                  including a Beck
Depression Inventory ( "BDI") and a Personality Assessment Inventory
("PAI") before he filled out the HFRRF disability evaluation. 65
There is no evidence that the testing methods Dr. Metcalfe employed
are either unaccepted in the psychology field or unreliable.                      As
such, any deficiencies in the tests themselves or in Dr. Metcalfe's
testing methods can be explored on cross examination.
      The      COH   faults    Dr.   Metcalfe   for     not    performing        any
differential diagnoses to rule out other possible causes for
Draycott's mental health conditions.            But contrary to the COH's
contention, the treatment that Metcalfe provided to Draycott did
not focus solely           on her work-related issues.            Dr.    Metcalfe
testified that he treated Draycott with respect to many, if not


      64
           Id. at 18-20.
      Metcalfe Deposition, pp. 77:11-78:19, 159:3-21, Exhibit 2 to
      65

COH's Corrected Motion to Exclude Mental Health Experts' Testimony,
Docket Entry No. 85-3, pp. 78-79, and 160.
                                      -40-
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most, of the confounding factors that the COH faults him for not

considering including, her daughter's death, her suicidal thoughts,
her   alcohol   abuse,     and    her   shoplifting     arrest. 66     Moreover,

Dr. Metcalfe considered these factors when forming his opinion
about the cause of Draycott's mental health conditions. 67

      The COH faults Dr. Metcalfe for not consulting or reviewing

medical    records     from    Draycott's      other   treating      health   care
professionals, but the COH fails to cite any records that pre-date
Dr. Metcalfe's treatment of Draycott.             Instead, the COH cites to
medical records from Cypress Creek Hospital and the Veteran's
Administration       ("VA"),   all of which post-date Dr.             Metcalfe's
treatment of Draycott.           The Cypress Creed Hospital records show
that Draycott initially sought treatment there in November of
2012, 68 and the VA records show that she initially sought treatment
there in December of 2 o 13. 69



      Id. at 18:23-19:23, 36:12-39:25, Exhibit 2 to COH's Corrected
      66

Motion to Exclude Mental Health Experts' Testimony, Docket Entry
No. 85-3, pp. 19-20, and 37-40.
      Id. at 83:24-84:8, Exhibit 2 to COH's Corrected Motion to
      67

Exclude Mental Health Experts' Testimony Docket Entry No. 85-3,
pp. 84-85 (explaining that following the death of her daughter,
Draycott actually appeared to regain her functioning fairly well
and was capable of performing her job as firefighter).
      Cypress Creek Hospital Medical Records, Exhibit 8 to COH's
      68

Corrected Motion to Exclude Mental Health Experts' Testimony,
Docket Entry No. 85-9, p. 4.
      Michael E. Debakey V. A. Medical Center Medical Records,
      69

Exhibit 9 to COH's Corrected Motion to Exclude Mental Health
Experts' Testimony, Docket Entry No. 85-10, p. 50.
                                        -41-
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     Dr. Metcalfe is a staff psychologist for HPD who treated

Draycott from approximately October 28, 2009, to December 4, 2012. 70

A treating physician may opine as to the causation of a plaintiff's

injuries and a plaintiff's prognosis as long as the doctor formed
those opinions "based on the care-provider's personal knowledge and

observations obtained during the course of care and treatment."
See Kim v. Time Insurance Co., 267 F.R.D. 499, 502 (S.D. Tex.
2008). When Draycott retired from HFD with disability benefits in
July of 2011, Dr. Metcalfe had been her treating psychologist for
almost two years.      Because Dr. Metcalfe's diagnoses and opinions
regarding the cause of Draycott's mental health conditions arose

during the ordinary course of treating Draycott, his diagnoses and
opinions formed while treating Draycott are reliable. The concerns
raised by the COH regarding the reliability of his diagnoses and
opinions go to the weight to be accorded to his testimony and not
to the admissibility of his testimony.        Puga, 922 F.3d at 294 ("As
a general rule, questions relating to the bases and sources of an
expert's opinion affect the weight to be assigned that opinion
rather than its admissibility."). Accordingly, the COH' s motion to
exclude or limit Dr. Metcalfe's testimony will be denied.




      Metcalfe Deposition, Exhibit 2 to COH's Corrected Motion to
     70

Exclude Mental Health Experts' Testimony, pp. 17:21-18:3, and 49:9-
16, Docket Entry No. 85-3, pp. 18-19, and 50.
                                   -42-
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              (c)   The COH's Motion to Exclude Drell Testimony Will Be
                    Denied

     The COH argues that Dr. Drell's testimony should be excluded
or limited because his opinions regarding causation are based on
unreliable and incomplete information from Draycott, because he did
not perform a differential diagnosis, and because the United States

did not accurately disclose the subject matter on which he is
expected to testify. 71



                    (1)   The United States Accurately Disclosed the
                          Subject of Dr. Drell's Testimony

     Asserting that the United States designated Dr.               Drell to
provide opinion testimony "based on information learned through
treatment of Jane Draycott in 2011-2012," the COH argues that the
United States did not accurately disclose the subject matter on
which Dr. Drell is expected to testify because he did not treat
Draycott. 72 Citing Dr. Drell' s deposition testimony, the COH argues
that he was hired by the HFRRF solely to evaluate Draycott
regarding her disability application, that he did not consider
Draycott as his patient, he did not create a treatment plan for
her, and thus his testimony should be excluded. 73



     71 COH's Corrected Motion to Exclude Mental Health Experts'
Testimony, Docket Entry No. 85, pp. 25-30.
     72
          Id. at 30.


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        Dr. Drell is a board certified psychiatrist who was hired by

the HFRRF to perform an independent medical examination of Draycott

in connection with her claim for disability retirement benefits due
to work-related injuries.        Like Dr. Metcalfe, Dr. Drell was not
retained or specially employed to provide expert testimony in this
case.    Fed. R. Civ. P. 26(a)(2)(B).        Rule 26 does, however, require

plaintiffs to timely disclose the subject matter of Dr. Drell's
testimony.     Fed. R. Civ. P. 26(a)(2)(C) and (D).
        The COH does not cite any authority in support of its argument
that the United States' disclosure of the subject matter of
Dr. Drell's testimony is inaccurate, and the court has found none.
To the contrary, courts regularly allow examining physicians to

testify as nonretained experts.        See Jones, 2012 WL 6652364, at *2;
Lindquist,     2008   WL   4560603,    at    *1-2.   Rule   26's   disclosure
requirements are intended to prevent prejudice and exclude surprise
as a factor in the outcome of trials.         See Joe Hand Promotions, 544
F. App'x at 446.      Because the COH does not argue that the United
States failed to disclose Dr. Drell, and does not argue that the
disclosure about which it complains caused any prejudice, the court
concludes that the United States did not fail to accurately
disclose the subject matter of Dr. Drell's testimony.




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                   (2)   Dr. Drell's Opinions are Reliable

     Dr. Drell was hired by the HFRRF to examine Draycott to
determine if she was disabled, and, if so, whether her disability

was permanent and work-related.         Dr. Drell examined Draycott on
June 27, 2011, and again on August 7, 2012.
     The COH argues that Dr. Drell's testimony is unreliable

because his opinions regarding causation are based on incomplete
information from Draycott,        and because he did not perform a

differential diagnosis, i.e., he did not differentiate between all
possible causes of Draycott's mental impairments.            But Dr. Drell

testified at his deposition that he reviewed the records of
Dr. Metcalfe and Dr. Nahmias before reaching his conclusions; 74 and
those records contained numerous references to many of the non-work
related issues that the COH contends Draycott never told Dr. Drell.
Moreover,    Dr.   Drell    diagnosed   Draycott    with   more   than   one
condition,   i.e., post-traumatic stress disorder, alcohol abuse in
partial remission, and major depression, single episode, severe, 75
and testified that her severe depression stemmed from multiple
stressors unrelated to her job situation, including the loss of her



      0ral Deposition of William Kadison Dre11, M.D., ( "Drell
     74
Deposition"), pp. 69:14-70:1, Exhibit 4 to the COH's Corrected
Motion to Exclude Mental Health Experts' Testimony, Docket Entry
No. 85-5, pp. 70-71.
     75
       Id. at 31:18-24, Exhibit 4 to the COH's Corrected Motion to
Exclude Mental Health Experts' Testimony, Docket Entry No. 85-5,
p. 32.
                                   -45-
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daughter,    marital and legal problems. 76         As to the cause of

Draycott's disability, Dr. Drell stated in his first report, that

he "believe [ed]    Ms. Draycott's disabling symptoms are directly
related to her work related incidents." 77            On August 7, 2012,
Dr. Drell re-evaluated Draycott, and again concluded that "her

disability    was   directly   caused     by   experience   with   the   fire
department," and stated that "I do not believe she can perform the

usual and customary duties of a firefighter/EMT due to her Post
Traumatic Stress Disorder.      I do anticipate her ability to work for
HFD will be permanent." 78     Neither of Dr. Drell's reports purport
to give a definitive opinion regarding the cause of Draycott's
mental conditions.     The court will allow Dr. Drell to testify, but
only as to the facts and circumstances developed during his
examinations of Draycott and the opinions and conclusions actually
expressed in the reports that he provided to the HFRRF.            With that
caveat, the motion to exclude Dr. Drell's testimony will be denied.
See Jones, 2012 WL 6652364, at *2 (limiting a nonretained examining
expert's trial testimony "regarding the cause of               [claimant's]


     76
       Id. at 32:1-6, Exhibit 4 to the COH's Corrected Motion to
Exclude Mental Health Experts' Testimony, Docket Entry No. 85-5,
p. 33.
      July 11, 2011, Letter from William K. Drell to Glenna Hicks,
     77

Deputy Director of Member Services, Exhibit 79 to USA's Opposition
to COH's MSJ, Docket Entry No. 103-7, p. 4.
      August 13, 2012, Letter from William K. Drell to Glenna
     78

Hicks, Deputy Director of Member Services, Exhibit 80 to USA's
Opposition to COH's MSJ, Docket Entry No. 103-8, p. 4.
                                   -46-
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psychiatric condition                  to the opinions and conclusions

actually expressed in his report"); Lindquist, 2008 WL 4560603, at
*1 ( limiting "nonretained treating physician" testimony "to the
facts and circumstances developed during the care of the patient").


       3.   The COH's Objections and Motion to Strike Tran-Buser Memo
            and Statement of Margaret Roberts Will Be Denied
       The COH objects to and moves to strike the United States'

Summary Judgment Exhibit 81 (Docket Entry No. 105-49), the Tran­

Buser Memo, and a portion of United States Exhibit 28 (Docket Entry
No. 104) identified as the Statement of Margaret Roberts. 79


            (a)   The Tran/Buser Memo is Admissible

       Plaintiffs' Exhibit 81 is a Memo to HFD Command Staff from
Dr. Jana Tran and Dr. Sam Buser, HFD Staff Psychologists, dated
October 5, 2017, and titled "Research with Female Firefighters"

(the    "Tran/Buser   Memo").     In    its MSJ,   the   COH argues     that
injunctive relief is unwarranted because the challenged conduct is
unlikely to reoccur.     A significant portion of the City's briefing
on this issue relies on the COH's creation of and response to the
2009 Thompson & Horton Assessment, a lengthy report prepared by two


      See Notice of Conventional Filing, Docket Entry No. 104 ( "The
       79

following exhibits cannot be filed electronically and need to be
filed under seal.        • Exhibit 28, Confidential Investigative
Report, OIG No. 09-0424, HOU00005870-5960"). See also Docket Entry
No. 75 (stating that Exhibit L to COH's MSJ, OIG Investigation
No. 2009-424, is filed on a CD in a brown folder).
                                   -47-
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law firms engaged by City Council. 80 The COH argues that it has met

its burden to prove that the conduct challenged is unlikely to
reoccur     because   the   Thompson   &   Horton   Assessment    identified
shortcomings in the HFD's compliance and complaint systems and, in
response,     the   COH took actions       to   address   the   findings and

recommendations in the Thompson & Horton Assessment. 81 Plaintiffs
seek to use the Tran/Buser Memo as evidence that the allegedly
discriminatory conduct at issue in this case is likely to reoccur

in support of the claim for injunctive relief. 82           The COH objects
to use of the Tran-Buser Memo for this purpose arguing that
     [t]he Tran/Buser Memo is not competent summary judgment
     evidence and should not be considered for any purpose in
     this case because neither Dr. Tran nor Dr. Buser has been
     designated as an expert witness and the opinions in the
     Tran/Buser Memo are neither reliable nor relevant to the
     issues in this case. 83
The United States argues in response that the Trans-Buser Memo is
admissible as the statement of a party opponent,                 and is not

properly considered expert evidence. 84



      Thompson & Horton Assessment, Exhibit R to COH's MSJ, Docket
     80

Entry No. 74-2.
     81
          See COH's MSJ, Docket Entry No. 63, pp. 49-61.
      See USA's Opposition to COH's MSJ, Docket Entry No. 105,
     82

pp. 62-63.
      COH's Objections and Motion to Strike, Docket Entry No. 120,
     83

pp. 1-2.
      Plaintiff United States' Response in Opposition to
     84

Defendant's Objections to and Motion to Strike Plaintiff's Summary
Judgment Evidence, Docket Entry No. 136, pp. 9-20.
                                    -48-
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     Federal Rule of Evidence 801(d)(2) states that a statement

made by a party's "employee on a matter within the scope of [the
employment relationship] and while it existed" is not hearsay and
may be offered against that party.         Fed. R. Evid. 801(d)(2)(D).
Similarly, a statement that a "party manifested that it adopted or

believed to be true"       may be used against the party,           as may

statements "made by a person whom the party authorized to make a
statement on the subject."       Fed. R. Evid. 801(d)(2)(B)-(C).         The
COH employed Dr. Tran and Dr. Buser when they prepared their memo
about the HFD's workforce, and the memo was prepared as part of

their job duties as HFD staff psychologists.           Moreover, the COH
manifested that it adopted or believed the information contained in
the Trans-Buser Memo to be true by distributing it to the HFD
command staff, 85 and by subsequently publishing an abbreviated
version of the same information to its nonsupervisory staff. 86
These distributions also demonstrate that Dr. Tran and Dr. Buser
were authorized to make statements on the COH's behalf on the
subjects reflected in the memo.           For these reasons the court
concludes that the Tran-Buser Memo is admissible as the non-hearsay


      October 5, 2017, Memo to HFD Command Staff from Dr. Jana Tran
     85

& Dr. Sam Buser, HFD Staff Psychologists, Exhibit 81 to USA's
Opposition to COH's MSJ, Docket Entry No. 105-49, p. 2.
      HFD Shrink Rap Article by Jana K. Tran, Ph.D., HFD Staff
     86

Psychologist, and Christine Pao, HFD Psychology Intern, Exhibit 1
to Plaintiff United States' Response in Opposition to Defendant's
Objections to and Motion to Strike Plaintiff's Summary Judgment
Exhibits, Docket Entry No. 136-3.
                                   -49-
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admission by a party opponent under Federal Rule of Evidence

801(d)(2). Accordingly, the COH's motion to strike the Tran-Buser
Memo will be denied and its objection thereto will be overruled.


           (b)   The Margaret Roberts Statement is Admissible

     The COH objects to any use of the Statement of Margaret

Roberts as evidence to prove the truth of the matters asserted

within the statement because the statement is erroneous and is
hearsay not subject to any hearsay exception.         The COH argues that
     Plaintiff relies on a "reprint" of a sworn statement by
     Margaret Roberts located [in] the Investigative Report of
     Inspector General G.T. Buenik in OIG #09-0424 and bates
     labeled as HOU00005879-5881. See Doc. 105, p. 29; 105-2,
     11 113, 124, 134. The original Statement of Margaret
     Roberts, reprinted by Inspector General Buenik, was
     submitted to Senior Investigator Raymond Gonzales of the
     Office of Inspector General at 9:05 a.m. on September 1,
     2009. HOU00006082-6085. The investigative file reflects
     that at 11:38 p.m. on that date, Margaret Roberts emailed
     Raymond Gonzalez and said, "After reading my Sworn
     Affidavit, I see several errors and need to make an
     amendment to the Affidavit." HOU00006036. However, no
     amendment is reflected in the Investigative File or in
     the Investigative Report. The erroneous statement should
     not be considered.
          In addition to being erroneous, the statement is
     hearsay and is not admissible. See Fed. R. Evid. 801,
     802. Margaret Roberts is deceased and is not subject to
     cross-examination, therefore her prior statement is
     hearsay, even though it was sworn. See Fed. R. Evid.
     801(d)(1); Doc. 105-8, p. 19; 105-10, p. 20; 105-11,
     p. 21, 105-45, p. 7. None of the Exceptions to the Rule
     Against Hearsay apply . . . 87



      COH's Objections and Motion to Strike, Docket Entry No. 120,
     87

pp. 6-7.
                                   -50-
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        Federal Rule of Evidence 803(6) allows for the admission of

records that were made at or near the time by someone with
knowledge as long as the record was kept in the course of a
business's regularly conducted activities and the creation of the
record was a regular practice of that activity.              The OIG is the

division of the COH tasked with conducting investigations into
allegations of discrimination at the HFD.88                The OIG prepares
investigative reports in the course of its regularly conducted
activities.89       Because the Margaret Roberts Statement is contained

in an OIG investigative report, it is an admissible part of an
admissible business record. See La Day v. Catalyst Technology,
Inc.,        302 F.3d 474,     481 n. 7 (5th Cir. 2002) (stating that
investigator's "notes                  fall within the business records
exception to the hearsay rule").              The COH's MSJ cited and relied
upon the Margaret Roberts Statement in particular,              and the OIG
investigative file in which it appears in general; 90 the COH's



        88
             COH's Statement of Facts, Docket Entry No. 63-1, p. 2     1 6.
        89
             Id. at 11-12   11 57-61 (describing OIG responsibilities).
      °COH MSJ, Docket Entry No. 63, p. 27 (" [F] ormer (now deceased)
        9

female firefighter, Margaret Roberts informed the investigator from
the [OIG] that she would leave the [toilet] seat up after cleaning
the women's bathroom. (Ex. L, OIG Investigation No. 2009-407,
Sworn Statement of Margaret Roberts)."). See also id. at 35-36
(referencing Exhibit L, OIG Investigative File No. 2009-424).
Exhibit L to the COH's MSJ is actually OIG Investigative File
No. 2009-424, the reference to OIG Investigative File No. 2009-407
in reference to the Margaret Roberts Statement is typographical
error.
                                       -51-
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attempt to exclude the Margaret Roberts Statement, while retaining

and relying upon the rest of the investigative report is improper.
     Moreover, the Margaret Roberts Statement is not necessarily
hearsay, which the Federal Rules of Evidence define as an out of
court statement offered "to prove the truth of the matter asserted

in the statement."      Fed. R. Evid. 80l(c).         The United States'
argues that the Margaret Roberts statement is not offered for the
truth of the matter stated but, instead, to show the state of the

COH's knowledge regarding the nature of the alleged conduct as
gender based.    The United States argues that
     Roberts' statement is offered at least in part to
     illustrate the City's knowledge that the urine in the
     women's dormitories was linked to gender.       The City
     devoted an entire section of its brief to arguing that
     "[t]he conduct complained of [was] not harassment based
     on sex." See D.E. 63, pp. 14-21. But Roberts advised
     the City that she believed that by "urinating in the
     women's sleeping quarters and            in the women's
     restroom sinks, which [they] use to wash [their] faces
     and brush [their teeth[]," male firefighters were
     "disrespecting" female firefighters and "invading their
     space with malicious intent."       See Ex. L. HOU5881,
     HOU6085. She reminded the . . . OIG that women did not
     enter the men's restroom and dormitory (other than in
     trainings).    Id.   Roberts told OIG that "[t]he men
     overstep[ped] their boundaries by invading [the women's]
     space and it was disrespectful to do so."       Id.   She
     finished by observing that all the female firefighters
     wanted was "to be treated with the same respect that most
     men in [the HFD] would demand." Id. 91




      Plaintiff United States' Response in Opposition to
     91

Defendant's Objections to and Motion to Strike Plaintiff's Summary
Judgment Exhibits, Docket Entry No. 136, pp. 20-21.
                                   -52-
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The Fifth Circuit has held that investigative notes documenting

employee statements are admissible if offered to illustrate the
state of the employer's knowledge.        See Brauninger v. Motes, 260 F.
App'x 634,    636-37 (5th Cir.      2007) (finding that trial court
properly admitted statements given to human resources officials

during an investigation,       because the statements bore on the

employer's knowledge at the time it made the employment decision
and because the investigative record was a business record).

     Because the Margaret Roberts Statement is part of a lengthy

investigative file that is admissible as a business record under
Federal Rule of Evidence 803(6), and is not necessarily hearsay,
the COH's motion to exclude the Margaret Roberts Statement will be
denied and the COH's objection will be overruled.



                    III. Summary Judgment Motions

     Plaintiffs allege that Draycott was subjected to a hostile
environment based on sex, and that when she opposed the City's
discriminatory treatment she suffered retaliation and constructive

discharge for having complained of discrimination.         Plaintiffs seek
recovery of back pay and future lost wages and benefits incurred by
Draycott as a result of the alleged discrimination, damages for
mental anguish and emotional distress caused by the COH's wrongful




                                   -53-
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acts, and injunctive relief. 92         The COH's Amended Answer asserts

several      affirmative     defenses     including,      inter    alia,      that
plaintiffs' claims are barred by the doctrine of laches, and are
barred in whole or in part, or their recoverable damages should be
reduced,     because Draycott failed to take reasonable steps to

mitigate her damages. 93



A.      Standard of Review

        Summary judgment is authorized if the movant establishes that
there is no genuine dispute about any material fact and the law
entitles it to judgment.           Fed. R. Civ. P. 56.           Disputes about
material facts are         "genuine"    if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.
Anderson v. Liberty Lobby. Inc., 106 s. Ct. 2505, 2511 (1986). The
Supreme Court has interpreted the plain language of Rule 56 to
mandate the entry of summary judgment "after adequate time for
discovery and upon motion, against a party who fails to make a
showing sufficient to establish the existence of an element
essential to that party's case, and on which that party will bear
the burden of proof at trial."                Celotex Corp. v. Catrett,       106



     92 Complaint, Docket Entry No.              1;   Original    Complaint     in
Intervention, Docket Entry No. 10.
      City of Houston's Amended Answer to Plaintiff's Complaint and
        93

Its Defenses, Docket Entry No. 43, pp. 24 1 6 (laches), and 25 113
(failure to mitigate damages).
                                       -54-
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S. Ct. 254 8, 2552 (19 86).          A party moving for summary judgment
"must 'demonstrate the absence of a genuine issue of material

fact,' but need not negate the elements of the nonmovant's case."
Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994)

(en bane) (per curiam) (quoting Celotex, 106 S. Ct. at 2553). If

the moving party meets this burden, the nonmovant must go beyond
the pleadings and show by admissible evidence that facts exist over
which     there   is   a   genuine   issue    for   trial.     Id.     Factual

controversies are to be resolved in favor of the nonmovant, "but
only when there is an actual controversy that is, when both parties
have submitted evidence of contradictory facts."              Little, 37 F.3d
at 1075.      See also Antoine v. First Student, Inc., 713 F.3d 824,
830 (5th Cir. 2013) (same).          "[T]he court must draw all reasonable
inferences in favor of the nonmoving party, and it may not make
credibility determinations or weigh the evidence."                   Reeves v.
Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2110 (2000).



B.      Applicable Law

        Title VII protects individuals from discrimination by an
employer based on the "individual's race, color, religion, sex, or
national origin."          42 U.S.C.   §   2000e-2 (a) (1).   Plaintiffs may
establish claims for employment discrimination in violation of
Title VII by using direct evidence or by using the indirect method
of proof set forth in McDonnell Douglas Corp. v. Green, 93 S. Ct.


                                       -55-
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1817 (1973).          "Direct evidence is evidence which, if believed,
proves      the   fact     [of    discrimination]     without     inference     or
presumption."            Brown    v.    East    Mississippi     Electric   Power
Association,      989 F.2d 858,        861     (5th Cir. 1993).     Plaintiffs'
initial      burden    under     the   McDonnell   Douglas    framework    is   to

establish a prima facie case.            93 S. Ct. at 1824.       If plaintiffs
establish a prima facie case, the burden shifts to the defendant to

articulate a legitimate, nondiscriminatory reason for its actions.
Id.      If the defendant meets this burden, plaintiffs must adduce
evidence capable of establishing that the defendant's stated
reasons for its actions are false and,                 instead,   pretexts for
discrimination.        Id. at 1825.



C.      The COH's Motion for Summary Judgment

        The COH moves for summary judgment on Draycott's claims
arguing that they are barred by laches, claims based on actions
that occurred more than 300 days before Draycott filed her charge
of discrimination with the EEOC are time-barred, Draycott was not
subjected to a hostile work environment based on sex, Draycott
cannot meet her burden to demonstrate retaliation, Draycott was not
constructively discharged, and the United States is not entitled to
injunctive relief.




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     1.       The COH's MSJ Based on Laches Will be Denied

     Asserting that Draycott filed her charge of discrimination
with the EEOC in July 2009, but that this action was not filed

until February of 2018, the COH argues that plaintiffs' claims are

barred by laches because the United States unreasonably and

inexcusably delayed in bringing suit for almost nine years. 94           The
COH argues that the delay in bringing suit has caused material

prejudice because several witnesses have died or can no longer
remember specifics of the events, and because documents have been
lost or destroyed.95        Plaintiffs respond that the COH is not
entitled to summary judgment based on laches because the COH has
failed to cite evidence capable of establishing unreasonable or
inexcusable delay or material prejudice.96


              (a)   Applicable Law
     Laches is an affirmative defense that bars suit when a
plaintiff's inexcusable or unreasonable delay in bringing a cause
of action has unduly prejudiced the defendant.                 Retractable
Technologies, Inc. V. Becton Dickenson      &   Co., 842 F.3d 883, 899-900
(5th Cir. 2016), cert. denied, 137 S. Ct. 1349 (2017) (citing Elvis


     94
          COH's MSJ, Docket Entry No. 63, pp. 17-20.
     95
          Id. at 18-19.
     96 USA's Response in Opposition to COH's MSJ, Docket Entry
No. 105, pp. 16-21; Draycott's Response to the COH's MSJ, Docket
Entry No. 114, pp. 33-37.
                                     -57-
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Presley Enterprises, Inc. V. Capece, 141 F.3d 188, 205 (5th Cir.

1998)).    "To prevail, the defendant must demonstrate: '(1) a delay
asserting a right or claim; (2) that the delay was inexcusable;
[and]    (3) that undue prejudice resulted from the delay.'"             Id.
(quoting Capece, 141 F.3d at 205). The delay must unduly prejudice

the defendant's ability to present an adequate defense.            National
Association of Government Employees v. City Public Service Board of

San Antonio, Texas, 40 F.3d 698, 708 (5th Cir. 1994) (citing Geyen
v. Marsh, 775 F.2d 1303, 1310 (5th Cir. 1985)).         When the relevant

facts are not in dispute,        district courts enjoy considerable
discretion in deciding whether to apply the laches defense.             Id.
        The Supreme Court has held that when a Title VII defendant is
prejudiced by a private plaintiff's unexcused conduct, the trial
court may restrict or even deny back pay relief.            See Occidental
Life Ins. Co. of California v. EEOC, 97 S. Ct. 2447, 2458 (1977)

(citing Albemarle Paper Co. v. Moody, 95 S.Ct. 2362, 2374-2375
(1975)).     See also Bernard v. Gulf Oil, Inc., 596 F.2d 1249 (5th
Cir. 1979) (recognizing that laches may apply to Title VII suits
brought by private plaintiffs if the evidence indicates that the
plaintiff inexcusably delayed in bringing the suit and that the
delay prejudiced the defendant). But whether laches may be used to
deny relief in a case brought by the EEOC is an open question. See
National Railroad Passenger Corp. v. Morgan, 122 S. Ct. 2061, 2077
n. 14 (2002) ("[T]raditionally the doctrine may not be applied


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against the sovereign.       We note, however, that in Occidental[, 97

S. Ct. at 2458,] there seemed to be general agreement that courts

can provide relief to defendants against inordinate delay by the
EEOC."). Assuming without deciding that the laches defense may be
applied against the EEOC, the Fifth Circuit has held that "this bar

arises only if the EEOC has delayed unreasonably after it has
completed conciliation."        National     Association of Government
Employees, 40 F.3d at 708-09 (quoting Fowler v. Blue Bell. Inc.,

596 F.2d 1276, 1279 (5th Cir.1979), cert. denied, 100 S. Ct. 671
(1980)).     As with all affirmative defenses, the burden of proof on
laches rests with the defendant.       Thomas v. Bryant, 919 F.3d 298,

312 (5th Cir. 2019).


              (b)   Application of the Law to the Facts
     The COH asserts that plaintiffs unreasonably and inexcusably

delayed the filing of this action for almost nine years after the
plaintiffs filed charges of discrimination with the EEOC.                    In
support of this argument the COH merely cites a general time line
of events, and summarily concludes that shorter delays have been
deemed unreasonable. 97     The parties do not dispute that the EEOC
notified the COH that conciliation efforts were terminated on April
4, 2016, that the United States filed suit less than two years




     97   COH's MSJ, Docket Entry No. 63, pp. 18-19.
                                   -59-
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later        on    February 28, 2018, and                             that           the         in divi dual                   plaintiffs

intervened          a   month later           on      March 29, 2018. 98
        The facts         of this       c ase        are analogous to the                                    facts           at issue                in
Fowler, 596 F.2d             at      1279, where                    the        Fifth Circuit held                                    that         the


time elapsed            during    ongoing            EEOC         conciliation efforts could not                                                     be

counted toward the calculation of                                  the unreasonable delay                                       element of


the laches          defense.         See      also National                            Association of                          Government

Employees, 40 F.3d               at    709-11 (finding                             a     9-year delay between                                     the


en d    of        the   conciliation                 period               an d          the          filing                of        suit            an


unreasonable delay               that      unduly pre judic ed                              the        defendant). Because

the    time        period during which                          conciliation                        efforts                are         ongoing
cannot        be    counte d     against              plaintif fs                    in        calculating                       delay for
laches,       the court concludes that the                                      delay            in      filing             this action


was    not nine         years   as the          COH       argues,               but was less                      than two                years.
Fow 1 er,         596 F.2d      at    1279; =N=a:...::t=-=i::...:o=-=n=a=
                                                                        l_----=.;
                                                                              A=  s'""'s"-'o          =-=t-=i:.:o=n=---=o-=f=-----=G=o;..:v-=e=r=-=n=m=e
                                                                                           :;...c=-1·=a                                                = n=
                                                                                                                                                          t

Employees, 40 F.3d               at     708-09.                  The COH does                        not argue                   -     and the


court    does       not   find - that             the        two year delay                          in      filing             suit         after
con c iliation          failed was unreasonable                               or       inexcusabl e.




       Id. at 18 ("On April 4, 2016, the EEOC notified the City that
        98

ef forts  to   conc iliate Draycott's and Ke yes' charges were
unsuccessful."). See also USA's Response in Opposition to COH's
MSJ, Docket Entry No. 105, p. 18 ("As the City notes, the EEOC did
not conclude its conciliation efforts until April 4, 2016. D.E. 63,
8."); Draycott's Response to the COH's MSJ, Docket Entry No. 114,
p. 34 ("Conciliation efforts failed in 2016 and suit was filed in
early 2018.      It took only a single month before P laintiffs
intervene d.").

                                                             -60-
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        Asserting that it has been materially prejudiced by the

plaintiffs' delay in filing this action, the COH agues that it
faces the hardship of relying on the memories of witnesses for

events that occurred more than nine years ago and attempting to
fill the factual void due to the deaths of key Human Resources

Personnel, Juan Padilla, Matt Russell and Kelly Shreck. 99            The COH
describes these Human Resources Personnel as "key," but the COH did

not identify any of these three individuals as potential witnesses
among      the   48   potential   witnesses   identified   in   its   initial
disclosures. 100      While the COH subsequently identified Shreck as a
potential witness who "may have information concerning training
provided to employees of the Houston Fire Department," 101 the COH
has never identified Padilla or Russell as potential witnesses, 102
and has not made any showing that any of these three individuals
possesses evidence that is not available from another source.            Nor
has the COH provided any information about the medical records that
it contends have been destroyed.         Instead, the COH asserts that
     [a]lthough Houston does not believe that the Plaintiffs
     can establish Title VII violations, Houston reserves the
     right to raise prejudice to the extent the Court finds


     99
          COH's MSJ, Docket Entry No. 63, p. 19.
       Defendant's Initial Disclosures (June 22, 2018), Exhibit 2
     100

to USA's Response in Opposition to COH's MSJ, Docket Entry No. 105-
6.
       Defendant City of Houston's First Supplemental Disclosures
     101

and Exhibit A Thereto, p. 12, Exhibit 3 to the USA's Response in
Opposition to COH's MSJ, Docket Entry No. 105-7, p. 17.
     102
           see id. (neither Padillo nor Russell is named).
                                     -61-
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        that the Plaintiffs meet their burdens, Houston will be
        prejudiced if it is required to defend itself based on
        the aged memories of its witnesses, information only
        within the personal knowledge of now deceased witnesses,
        and/or documents related to Draycott's medical condition
        that were not maintained by health care professionals who
        evaluated Draycott. 103

Because the COH has failed to provide any factual evidence capable
of     establishing      that    either    the   United   States   or   Draycott

unreasonably or inexcusably delayed in filing this action, or that
the plaintiffs' delay in filing this action has caused the COH to

suffer any prejudice,           the COH's motion for summary judgment based
on the affirmative defense of laches will be denied.               See Powell v.
City of Key West, Florida, 434 F.2d 1075, 1080 (5th Cir. 1970)
(affirming district court's denial of motion for summary judgment
based on laches because the motion "completely lack [ed]                     . a
factual basis for applying [the laches] defense").


        2.       The COH's MSJ Based on Limitations Will be Denied
        Asserting that claims based on acts that allegedly occurred
more than 300 days before Draycott filed a charge of discrimination
with the EEOC are time-barred, the COH argues that it is entitled
to summary judgment on Draycott's claims that she was sexually
harassed by a male firefighter while at Station 46 and denied
overtime while at Station 74. 104



        103
              COH's MSJ, Docket Entry No. 63, pp. 19-20.
        104
              Id. at 20-21.
                                          -62-
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        The complaints filed both by the United States and by the

intervenor plaintiffs, the statement of facts that plaintiffs have
filed in opposition to the COH's MSJ, and plaintiffs' briefs in

opposition to the COH's MSJ, make clear that the claims asserted in

this action are all based on events that occurred at Fire Station

No. 54 in 2009 and 2010 within 300 days of the filing of Draycott's
EEOC charge on July 15, 2009. 105     The COH's contention that claims
asserted in this action are time barred because they are based on
acts that allegedly occurred more than 300 days before Draycott
filed a charge of discrimination with the EEOC has no basis in
fact.      Accordingly, the COH's motion for summary judgment based on
the contention that plaintiffs have asserted claims that are time­
barred will be denied.




       See Complaint, Docket Entry No. 1; and Original Complaint in
     105

Intervention, Docket Entry No. 10; USA's Statement of Facts, Docket
Entry No, 105-2, pp. 12-30, 11 92-225. See also USA's Response in
Opposition to COH's MSJ, Docket Entry No. 105, p. 8 ("The United
States brings this Title VII case alleging that the Houston Fire
Department ("HFD") discriminated against Jane Draycott ("Draycott")
and Paula Keyes ("Keyes"), on the basis of sex while both were
employed as firefighters at HFD's Station 54."); Draycott's
Response to the COH's MSJ, Docket Entry No. 114, p. 6 ("In this
Title VII suit, Draycott alleges that she was subjected to a
gender-based hostile work environment at Station 54.").
                                    -63-
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        3.     The COH's MSJ on Plaintiffs' Claims for Hostile Work
               Environment Based on Sex Will be Denied

               (a) Applicable Law
        For a Title VII hostile work environment claim plaintiffs must

show that Draycott            (1) belongs to a protected group;                (2) was
subjected to unwelcome harassment; (3) the harassment was based on

her protected characteristic (female sex); (4) the harassment was
sufficiently severe or pervasive to affect a term, condition, or
privilege of employment; and (5) the COH knew or should have known
of the harassment and failed to take prompt remedial action.                         See
Hernandez v. Yellow Transportation, Inc., 670 F.3d 644, 651 (5th
Cir.), cert. denied sub nom. Ketterer v. Yellow Transportation,
Inc., 133 S. Ct. 136 (2012) (citing Ramsey v. Henderson, 286 F.3d

264,    268    (5th Cir. 2002))           For harassment to affeet a term,
condition,         or   privilege    of    employment,      it   "must    be        'both

objectively and subjectively offensive.'"                Id. (citing Faragher v.

City of Boca Raton, 118 S. Ct. 2275, 2283 (1998)).                 In determining
whether a work environment is objectively hostile or abusive and
therefore actionable under Title VII, courts look to the totality
of     the    circumstances       and     examine    "the    frequency         of    the
discriminatory conduct; its severity; whether it is physically
threatening or humiliating, or a mere offensive utterance; and
whether       it   unreasonably     interferes      with    an   employee's         work
performance."           Id.   (citing Ramsey, 286 F.3d at 268)             See also
Harris v. Forklift Systems,               Inc.,   114 S. Ct.     367,    371    (1993)


                                          -64-
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(harassment must be such that "the environment would reasonably be

perceived, and is perceived, as hostile or abusive"). Conduct that

is merely offensive is not actionable.             "[The]   conduct must be
extreme to amount to a change in the terms and conditions of
employment."        Faragher, 118 S. Ct. at 2284.



              {b)   Application of the Law to the Facts
        The COH does not dispute that Draycott belongs to a protected
group      (female),     but disputes that she was harassed,      that any
harassment was          based   on her sex,   or sufficiently    severe      or
pervasive to affect a term, condition, or privilege of employment,
and that the COH knew or should have known of the harassment but

failed to take prompt remedial action.106          The COH argues that
     Plaintiffs cannot establish a prima facie case of a
     hostile work environment based on sex. The undisputed
     evidence in the record is that the alleged conduct was
     not based on sex and was equally experienced by male
     firefighters. Once Houston determined or learned that
     the conduct could have been based on gender, it took
     prompt remedial action and the conduct stopped. 107



                       (1)   Plaintiffs    Cite   Evidence    Capable        of
                             Establishing Harassment Based on Sex

     Citing Oncale v. Sundowner Offshore Services. Inc., 118 S. Ct.
998 (1998), for its holding that Title VII does not prohibit all
workplace harassment, the COH argues that messy co-workers and


     106
           COH's MSJ, Docket Entry No. 63, pp. 22-36.
     107
           Id. at 23.
                                       -65-
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messy bathrooms are not evidence of sex-based harassment, that

plaintiffs cannot rely on media reports and rumors as evidence that
Draycott was the target of the investigation of vandalism at
Station 54, and that the Fire Chief's decision to hold a CISM
meeting on Draycott's first day back at work was not for the

purpose      of   harassing   her. 108      But   contrary   to   the   COH's

characterization, plaintiffs have presented substantial evidence to
dispute the COH's contention that the alleged conduct was neither

harassing nor based on sex.        The harassment that plaintiffs allege
constituted a hostile work environment include               (1) unsanitary
conditions of the women's dormitory and bathroom at Station 54;
(2) the July 7, 2009, vandalism of the women's dormitory at Station
54; and (3) the January 13, 2010, Roll Call meeting where members
of HFD's command staff allowed members of Station 54's A shift tell
Draycott they did not want her to return to work there.
     Citing the deposition testimony of HFD Captains Hencshel and
Holmes, and HFD Assistant Chief McAteer, the COH argues that

      [w]hen female firefighters were not on shift at Station
     54, male firefighters used the women's dormitory to watch
     television,    study   for   promotional   exams,    hold
     conferences, sleep, or allow their family members to stay
     in those rooms on Family Day at the station. . . Also, if
     a shift had extra personnel, especially at the officer
     level (e.g. Captain or Senior Captain), the women's
     dormitory would be utilized as overflow.     . It is not
     against the law for the dormitory to be used for these
     reasons. Nor can it be said that a male firefighter




     108
           Id. at 24-31.
                                     -66-
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     using the women's dormitory for these reasons is
     harassment based on sex in violation of Title VII.109
The COH also cites the deposition testimony of Firefighter EMT
Eduardo Ramirez as evidence that the men's bathroom at Station 54
and other HFD stations "suffered the same fate as [Station] 54's
women's bathroom;        urine would be found everywhere but in the

toilet." 110 The COH argues that this and other evidence establishes
that Draycott was not subjected to a hostile work environment based
on sex because "[w]hile the events complained of by Draycott, if

proven, could be considered uncivil or hostile conduct, there is
nothing to indicate that any hostility was sex-based."111           The COH
     [e]xpressly denies the mess in the women's dormitory and
     restrooms was anything other than just that, a mess.
     While men were not supposed to go into the women's areas,
     there is no evidence they had any nefarious motives for
     going there, whether discriminatory or otherwise hostile.
     The evidence supports that men on shifts where there were
     no female firefighters saw the women's dorm and restroom
     as places where they could get away from the crowd and
     have a private spot to sleep, watch tv, or, in the case
     of the restroom, void their bowels.112



       Id. at 24-25 (citing Videotaped Deposition of Erich John
     109

Hencshel ("Hencshel Deposition"), pp. 66, 201, Exhibit D to COH's
MSJ, Docket Entry No. 63-6, pp. 17, 52; Oral Videotaped Deposition
of Robert Bryant Holmes ("Holmes Deposition"), p. 44, Exhibit G to
COH's MSJ, Docket Entry No. 63-9, p. 12; Videotaped Oral Deposition
of George Luther McAteer, Jr. ("McAteer Deposition"), p. 118,
Exhibit GGG to COH's MSJ, Docket Entry No. 66-5, p. 30.
       rd. at 27 (citing Oral Deposition of Eduardo Ramirez,
     110

pp. 169-70, Exhibit E to COH's MSJ, Docket Entry No. 63-7, pp. 44-
45).
       Defendant's Reply in Support of Its Motion for Summary
     111

Judgment ("COH's Reply in Support of MSJ"), Docket Entry No. 124,
p. 8.
     11 2   Id. at 10.
                                   -67-
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     Although the COH cites testimony that the men's bathroom had
urine on the toilets,             walls,     and floors,    Draycott and Keyes
testified that the women's bathroom regularly had urine not only on
the toilets, walls, and floors but also in the sink where women
washed their faces and brushed their teeth. 113                    The COH cites

evidence that male firefighters regularly found spit cups left at
various places throughout Station 54, but Draycott testified that
in addition to finding spit cups in the women's dormitory and
bathroom,        she also found tobacco spit directly into her desk

drawers.114         Draycott also testified that after she began to
complain         about   the   conditions     in   the   women's   dormitory   and
bathroom, she found fireworks attached to the doors of the stalls
in the women's bathroom and one exploded when she opened the
door, 115 the cold water to the women's shower was turned off causing


       USA's Response in Opposition to COH's MSJ, Docket Entry
     113

No. 105, p. 25 (citing USA's Statement of Facts, Docket Entry
No. 105-2, p. 12 1 96 (citing Oral and Videotaped Deposition of
Ena Jane Draycott ("Draycott Deposition"), pp. 79:12-81:8, Exhibit
38 to USA's Response in Opposition to COH's MSJ, Docket Entry
No. 105-35, pp. 19-21). See also USA's Statement of Facts, Docket
Entry No. 105-2, p. 14 1 110 (citing Oral Deposition of Paula
Denise Keyes ("Keyes Deposition"), pp. 100:1-101:1, Exhibit 37 to
USA's Response in Opposition to COH's MSJ, Docket Entry No. 105-34,
pp. 39-40 (finding urine in sink in women's bathroom)).
     11USA's Response in Opposition to COH's MSJ, Docket Entry
          4

No. 105, p. 25 (citing USA's Statement of Facts, Docket Entry
No. 105-2, 1 108 (citing Draycott Deposition, p. 74:4-10, Exhibit
38 to USA's Response in Opposition to COH's MSJ, Docket Entry
No. 105-35, p. 14).
     11
          5
              Id. (citing United States' Statement of Facts, Docket Entry
                                                            (continued...)
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her to be scalded, 116 the volume on the announcement speakers in the

women's dormitory and bathroom was turned down causing Keyes to
miss a call, 117 and on July 7,      2009,   the women's dormitory was
vandalized and the words "die bitch" were scrawled above her desk
and on the door to her locker. 118

     The COH has not cited any evidence of tobacco being spit
directly into drawers in the men's dormitory, of fireworks being
attached to the stall doors in the men's bathroom, of the cold
water to the men's showers or the announcement speakers in the
men's dormitory or bathroom being turned off,            or of the men's
dormitory or bathroom ever being vandalized with death threats and

gender-specific slurs.      Nor has the COH cited any evidence that



       5
           continued)
     11 ( •••

No. 105-2, p. 13 1 99 (citing Draycott Deposition, pp. 76:14-77:21,
Exhibit 38 to USA's Response in Opposition to COH's MSJ, Docket
Entry No. 105-35, pp. 16-17)).
     11 See United States' Statement of Facts, Docket Entry No. 105-
          6

2, pp. 16-17 11131-32 (citing Email from Erich Hencshel to George
McAteer, and Ronald Krusleski dated June 21, 2009, Exhibit 43 to
USA's Response in Opposition to COH's MSJ, Docket Entry No. 100-5,
p. 2) .
     11See United States' Statement of Facts, Docket Entry No. 105-
          7

2, p. 17 11135 (citing Keyes Deposition, pp. 86:2-87:13, Exhibit
37 to USA's Response in Opposition to COH's MSJ, Docket Entry
No. 105-34, pp. 32-33).
     11USA's Response in Opposition to COH's MSJ, Docket Entry
       8

No. 105, p. 25 (citing United States' Statement of Facts, Docket
Entry No. 105-2, p. 18 1 143 (citing Statement of HFD Firefighter
Jane Draycott and Photographs of Gender and Racial Slurs at Station
54 on July 7, 2009, Exhibits 53 and 54, Docket Entry Nos. 100-11
and 100-12, respectively).
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women ever used the men's dormitory or bathroom, or that women ever
had to be told not to use the men's dormitory or bathroom.
Moreover, the COH acknowledges not only that female firefighters
had complained about the conditions of the women's dormitory and

bathroom at Station 54 long before Draycott and Keyes worked there,
but also that a Bulletin issued by Assistant Fire Chief McAteer on
February 18,    2007,   expressly prohibited male firefighters from
using the women's dormitories and bathrooms, 119 but that prohibition
was not enforced at Station 54. 120
     Based on plaintiffs' evidence of the conditions regularly
found in the women's dormitory and bathroom at Station 54,                   a
reasonable     fact   finder   could   conclude    that   the   unsanitary
conditions about which plaintiffs complain far exceeded any general
messiness in the men's areas of Station 54 and are in fact evidence

of gender-based harassment.        Moreover,    the vandalism involving
gender-specific slurs was solely confined to the women's dormitory
(a gender-specific location), and the slurs used targeted the only
female firefighters at the workplace.        See Reeves v. C.H. Robinson
Worldwide,    Inc.,   594 F.3d 798,    810   (11th Cir. 2010) (en bane)


     11See COH's MSJ, Docket Entry No. 63, p. 25 (citing McAteer
          9

Deposition, pp. 118-19, Exhibit GGG to COH's MSJ, Docket Entry
No. 66-5, p. 30).
       Id. (asserting that "a violation of a workplace rule is not
     120

a per se violation of Title VII"). See also id. at 24 (citing
Holmes Deposition, p. 44, Exhibit G to COH's MSJ, Docket Entry
No. 63-9, p. 12 (acknowledging that when female firefighters were
not on shift male firefighters used the women's dormitory).
                                   -70-
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("[W]hen a co-worker calls a female a 'bitch,' the word is gender­
derogatory,              calling a female colleague a "bitch" is firmly
rooted in gender. It is humiliating and degrading based on sex.") .
See also Oncale, 118 S. Ct. 1002 ("The critical issue, Title VII's

text indicates, is whether members of one sex are exposed to
disadvantageous terms or conditions of employment to which members
of the other sex are not exposed").           The conditions in the women's
dormitory and bathroom, and the vandalism accompanied by gender­
specific slurs and death threats share only one clear connection:
they affected the only two women assigned to Station 54.                      A
reasonable jury could conclude that the conditions in the women's
dormitory and bathroom at Station 54 constituted harassment and
that the harassment was based on sex.


                   (2)    Plaintiffs   Cite    Evidence    Capable   of
                          Establishing that the Harassment Effected a
                          Term, Condition, or Privilege of Employment

     Arguing that the alleged harassment did not affect a term,
condition,    or     privilege    of      Draycott's   employment,    the   COH
characterizes plaintiffs complaints about unsanitary conditions in
the women's dormitory and bathroom as complaints about messy co­
workers whose conduct was not sufficiently severe or pervasive to
support a hostile work environment claim.               But contrary to the
COH's argument, plaintiffs have presented evidence from which a
reasonable    fact       finder   could    conclude    that   the    harassment


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complained of was both subjectively and objectively offensive and

sufficiently severe to affect a term, condition, or privilege of

employment.   See Hernandez, 670 F.3d at 651 (citing Faragher, 118
s. Ct. at 2283). Evidence that the harassment Draycott experienced
at Station 54 was subjectively offensive is found in the numerous

complaints that she lodged with Captain Hencshel, the COH's OIG,
and then the EEOC.      See Aryain v. Wal-Mart Stores Texas LP, 534
F.3d 473, 480 (5th Cir. 2008)        (holding that female plaintiff's
pursuit of harassment claims would allow a jury to conclude that
she subjectively perceived her working environment to be hostile or
abusive)
     In determining whether a work environment is objectively
hostile or abusive courts look to the totality of the circumstances
and examine "the frequency of the discriminatory conduct;                its

severity; whether it is physically threatening or humiliating, or
a mere offensive utterance; and whether it unreasonably interferes
with an employee's work performance." Hernandez, 670 F.3d at 651.
See also Harris, 114 S. Ct. at 371 (harassment must be such that
the environment "would reasonably be perceived, and is perceived,
as hostile or abusive").      Draycott testified that she found urine
in the women's bathroom at the beginning of every shift, including

in the sink where she brushed her teeth and washed her face,
tobacco spit into the drawers of her desk, and fingernail clippings




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on her      bed. 121   Captain Hencshel        testified     that   he   believed
Draycott's complaints and acknowledged discovering "what might have

been urine stains on the toilet and possible urine spots on the
wall."122     Because the women were responsible for cleaning their
dormitory and bathroom, Draycott was frequently and unnecessarily

required     to    clean   up   other    people's   urine,    spit,      and   nail
clippings.
     Plaintiffs have also cited evidence showing that fireworks
attached to a stall door in the women's bathroom exploded when

Draycott opened the door,          Draycott was scalded in the women's
shower when the cold water had been turned off, Keyes missed a call
when the volume of the speakers in the women's area was turned off,
and Draycott and Keyes were both placed on administrative leave
following their discovery of the vandalism of the women's dormitory
that occurred only a week after they filed complaints with the OIG.

Attaching fireworks to stall doors in the women's bathroom, turning



       Draycott Deposition of February 27, 2019, pp. 73:24-74:12
     121

(tobacco spit and nail clippings), 79:12-81:8 (urine), Exhibit 38
to USA's Opposition to COH's MSJ, Docket Entry No. 105-35, pp. 13-
14, 19-21). See also Keyes Deposition, pp. 100:1-101:1, Exhibit 37
to USA's Opposition to COH's MSJ, Docket Entry No. 105-34, pp. 39-
40 (testifying to finding urine in the sink in the women's
bathroom).
       Hencshel Deposition, pp. 230:11-231:1, Exhibit G to COH's
     122

MSJ, Docket Entry No. 63-6, p. 59; Statement of HFD Captain Erich
J. Hencshel, Exhibit 44 to USA's Response in Opposition to COH's
MSJ, Docket Entry No. 100-6, p. 4 ("I inspected the area and
discovered what might have been urine stains on the toilet and
possible urine spots on the wall").
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off the cold water to the women's showers, turning down the volume
of the speakers in the women's area, and vandalizing the women's

dormitory threatened not only Draycott's and Keyes' safety and but
also their ability to do their jobs.                A reasonable jury could
conclude from this evidence that the harassment at issue was both

objectively offensive and sufficiently severe or pervasive to alter
a term, condition, or privilege of the plaintiffs' employment.

      Citing Faragher, 118 S. Ct. at 2283, and asserting that the
vandalism of the women's dormitory was an isolated occurrence, that
the graffiti was removed the day it appeared, and that there is no

allegation that any graffiti reappeared, the COH argues that
"[i]solated incidents will not amount to discriminatory changes in
the terms and conditions of employment." 123 Asserting that "neither

Draycott nor Keyes subjectively believed the graffiti in the
women's dorm to be sexually offensive or intended as sexual
harassment,              both of them perceived the graffiti to be
retaliation for having filed a protected complaint," 124 the COH
argues that "[a]bsent any subjective perception that the conduct
was   sexually      harassing,   there   can   be    no   actionable   hostile
environment claim." 125     But in Faragher, 118 S. Ct. at 2283, the
Supreme Court recognized that a single incident of harassment, if


      123
            COH's MSJ, Docket Entry No. 63, p. 32.
      124
            COH's Reply in Support of MSJ, Docket Entry No. 124, p. 13.
      12srd
              .



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sufficiently severe, can give rise to a viable Title VII claim just

as     a      continuous     pattern     of    much     less     severe    incidents     of

harassment.         Moreover, since the protected complaint that Draycott
and Keyes had filed was for gender discrimination, a reasonable

fact       finder    could    also     conclude       that     the    vandalism    was   an
escalation of gender-based harassment.

        Asserting that the comments made by Draycott's male co-workers
on January 13, 2010, were not physically threatening, humiliating,
or gender-based, the COH argues that there is no evidence that

Draycott' s gender was the motive behind the comments. 126                          Citing
Captain Williamson's comments, the COH argues that the comments
were motivated by (1) the fact that the person(s) who committed the
vandalism had not been identified; ( 2) the investigation of the
vandalism had not been concluded; and (3) Draycott's behavior at
Station 54 did not support her return to work there. 127                      Asserting
that neither Williamson nor the other                          firefighters       who made
comments on January 13,                2010,     had authority over Draycott's
employment,         and that authority over Draycott's conduct rested
exclusively with Fire Chief Boriskie,                     the COH argues that the
"firefighter's expression of their feelings, although it may have
felt harsh and             humiliating    for        Draycott,       is not objectively
offensive or humiliating enough to effect a term and condition of


        126
              COH's MSJ, Docket Entry No. 63, p. 33.
       Id. (citing Captain Williamson's Statement Read at January
       127

13, 2010 Roll Call, Exhibit LL to COH's MSJ, Docket Entry No. 68-
2)
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employment." 128 This argument is belied by the fact that on January

13, 2010, Williamson was Draycott's first line supervisor, and Fire
Chief Boriskie as well as members of his command staff were present
at the Roll Call during which Draycott was disparaged but took no
action to stop the disparagement.           Moreover, the disparagement was
so severe that Draycott was unable to work her shift but, instead,
left to go see her psychologist,                Dr. Metcalfe,   for emergency
counseling, and was unable to return to work until April. Based on
this evidence a reasonable fact finder could conclude that the
conduct Draycott experienced at Station 54 on January 13, 2010, was
both subjectively and objectively offensive,               and sufficiently
severe to effect a          term, condition, or privilege of employment.



                      (3)   Plaintiffs    Cite   Evidence Capable of
                            Establishing that the COH Failed to Take
                            Prompt Remedial Action

        The COH argues that prompt remedial action was taken with
respect to the conditions in the women's dormitory and bathroom
because Hencshel attempted to address Draycott's complaints in-
house         by   investigating   the    complaints,    speaking   to   other
firefighters, notifying the captains of other shifts, and informing
District Chief McAteer, and that once it was determined that the
concerns could not be addressed in-house,               Captain Hencshel and



        128   Id. at 34.

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Senior Captain Tamez told Draycott to file a complaint with OIG. 129

The COH argues that prompt remedial action was taken with respect
to the vandalism of the women's dormitory because the day the
vandalism was discovered the graffiti was removed,                    a criminal
investigation was initiated, Draycott and Keyes were placed on paid
leave, and after about a month Draycott and Keyes were temporarily
assigned          to   other    stations     pending    the    outcome   of     the
investigation. 130          The COH argues that prompt remedial action was
taken with respect to the January 13, 2010, Roll Call because after
the   investigation          concluded,     employees   from   the   COH's    Human
Resources Department conducted and completed EEO ( "Equal Employment
Opportunity") training for all ARFF stations, Boriskie was demoted

to District Chief, McAteer left ARFF and went to EMS, Williamson
transferred out of ARFF, and              there is no evidence that sex-based
harassment has since occurred at Station 54. 131
      The COH's argument that prompt remedial action was taken to
prevent and/or correct any inappropriate behavior is contradicted
not only by evidence that after Draycott complained to Hencshel and
to OIG, the harassment represented by the unsanitary conditions in
the women's dormitory and bathroom did not end but,                      instead,



      129
               Id. at 34.
       Id. at 34-35.
      1 0
       3                See also COH's Reply in Support of MSJ,
Docket Entry No. 124, p. 14.
      13
           1
            Id. at 35.
                                           -77-
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escalated, to vandalism of the women's dormitory, gender slurs, and

death threats.           Moreover,    the investigation of the vandalism

neither identified the vandals nor ended the harassment which, on
January 13, 2010 - the day Draycott attempted to return to work,
escalated to disparaging and confrontational remarks made by her
immediate supervisor, Captain Williamson, in the presence of Fire
Chief Boriskie and members of his command staff. Based on this
evidence a reasonable fact finder could conclude that the COH
failed to take prompt remedial action.


                (c)    Conclusions as to Hostile Work Environment Claim
        There is simply no reasonable basis to support granting the
COH's     MSJ     on    plaintiffs'    hostile   work    environment   claim.
Considering all the facts in the light most favorable to the
plaintiffs, genuine issues of material fact exist as to whether the
repeated gender-based defilement of the women's dormitory and
bathroom at Station 54, the escalating nature of the harassing
conduct, the vandalism accompanied by gender-specific slurs and
death threats found written on the walls of the women's dormitory
on July 7, 2009, and the disparaging comments made to Draycott when
she attempted to return to work on January 13, 2010, were based on
gender, was sufficiently severe to effect a term, condition, or
privilege of employment, and whether the COH took prompt remedial
action to end the harassment.             Accordingly,    the COH's MSJ on
plaintiffs' hostile work environment claim will be denied.

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     4.    The COH's MSJ on Plaintiffs' Claims for Retaliation
           Against Draycott Will be Denied
           (a)   Applicable Law

     Title VII protects employees from retaliation for exercising
protected rights.     See 42 U.S.C. § 2000e-3.       See also Aryain, 534
F.3d at 484.       In order to establish a prima facie case of

retaliation under Title VII plaintiffs must show that (1) Draycott
engaged in activity protected by Title VII,         (2) Draycott suffered
a materially adverse employment action, and (3) a causal connection

exists between the protected activity and the materially adverse
employment action.     Aryain, 534 F.3d at 484.         For purposes of a
Title VII retaliation claim, an adverse employment action is an
action that could dissuade a reasonable worker from making or
supporting a charge of discrimination. Burlington Northern & Santa
Fe Railway Co. v. White,       126 S. Ct. 2405,      2409   (2006).     Once

plaintiff establishes a prima facie case the burden shifts to the
employer to articulate a legitimate non-retaliatory reason for the
adverse employment action.        Aryain, 534 F.3d at 484.          "If the
employer meets this burden of production, the plaintiff then bears
the burden of proving that the employer's reason [for the adverse
action]   is a pretext for the actual retaliatory reason.                Id.
(citing McCoy v. City of Shreveport, 492 F.3d 551, 557 (5th Cir.
2017) (per curiam)). Plaintiff is required to demonstrate that the
adverse employment action would not have occurred                "but for"
Draycott's protected activity.        University of Texas Southwestern

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Medical Center v. Nassar, 133 S. Ct. 2517, 2533 (2013) ("Title VII

retaliation      claims    must    be   proved   according     to   traditional
principles of but-for causation, not the lessened causation test
stated in [42 U.S.C]      §   2000e-2 (m)."). To avoid summary judgment on
their   retaliation       claim    plaintiffs    must   show   a    conflict   in

substantial evidence on the question of whether the COH would not
have taken the challenged adverse employment actions but for her
protected activity.           See Hernandez, 670 F.3d at 660. "Evidence is
'substantial' if it is of such quality and weight that reasonable

and fair-minded men in the exercise of impartial judgment might
reach different conclusions."           Id.


           (b)    Application of the Law to the Facts
     The COH does not dispute that Draycott engaged in protected
activity by repeatedly complaining to her immediate supervisors,
filing a formal complaint of gender discrimination with Staff
Services on June 29,            2009,   and filing complaints for gender
discrimination and retaliation with the EEOC on July 15, 2009, and
April 6, 2010.     See Valderaz v. Lubbock County Hospital District,
611 F. App'x 816, 821 (5th Cir. 2015) (per curiam) ("internal report
of perceived discrimination . . . is protected by Title VII"). The
COH argues, however, that Draycott has not suffered any adverse
employment action as a result of her protected activity, and that
even if Draycott did suffer an adverse employment action, there is


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no causal connection between the adverse employment action and her
protected activity. 132      Plaintiffs respond      that a     jury could
conclude that Captain Williamson's retaliatory Roll Call, condoned
by the Fire Chief and members of his command staff, would dissuade
a reasonable employee from making a charge of discrimination. 133

The court agrees.
     Citing Valderaz,      611 F. App'x at 821, the COH argues that
Chief Boriskie's decision to hold the CISM and failure to stop the
male firefighters from expressing their feelings about Draycott's
attempt to return to work on January 13, 2010, was not for purposes
of retaliating against Draycott and, therefore, cannot serve as the
basis for her retaliation claim.       The COH argues that
     Station 54A's crew's decision to express their feelings
     regarding the events at issue also is not a material
     action that would dissuade a reasonable person from
     complaining.      Williamson,   Vara,    and  the   other
     firefighters who expressed their feelings about what had
     occurred at Fire Station 54 back in the summer of 2009
     had absolutely no control over Draycott's employment
     status. As a matter of State law, collective bargaining
     agreement, and HFD policy, only the Fire Chief has the
     authority to transfer any firefighter.     . "The actions
     of ordinary employees are not imputable to their employer
     unless they are conducted 'in furtherance of the
     employer's business.'"    Hernandez [, 670 F.3d at 657] .
     Additionally, comments made by persons who had no
     authority to take employment action at issue (e.g.
     transfer) are not adverse actions. 134


     132
           Id. at 38-42.
       USA's Response in Opposition to COH's MSJ, Docket Entry
     133

No. 105, pp. 40-43; Draycott's Response to the COH's MSJ, Docket
Entry No. 114, pp. 22-23.
     134
           COH's MSJ, Docket Entry No. 63, pp. 41-42.
                                   -81-
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       In Valderaz the Fifth Circuit held that a supervisor setting
a meeting with the plaintiff's co-workers in an effort to resolve
a conflict was not actionable retaliatory conduct. 611 F. App'x at

821.    The Fifth Circuit explained that
       Valderaz has not given the Court any reason to conclude
       that [the supervisor] set that meeting with any
       intentions other than to address the conflict. While
       there may be circumstances which would counsel against a
       supervisor confronting wayward employees about their
       treatment of a co-employee and disclosing that the co­
       employee's complaint with specificity, this was not one
       of them.
Id.    This case is distinguishable from Valderaz because while the
plaintiff in that case was unable to cite evidence capable of
establishing that the supervisor set the meeting at issue for any
reason other than to resolve a conflict, here, plaintiffs cite
direct evidence that Draycott was subjected to an adverse action
because of her protected activities.        "Direct evidence is evidence
which, if believed, proves the fact [of intentional retaliation]
without inference or presumption."         Brown, 989 F.2d at 861.
       Plaintiffs have presented uncontradicted evidence that during
Roll Call on the day that Draycott attempted to return to work at
Station 54, Captain Williamson read a prepared statement opposing
her return stating, inter alia, that she had accused her co-workers
of harassing her, investigations stemming from her complaints were
on-going, her accusations and the ensuing investigations had taken
great tolls on his crew members' professional careers and personal
lives, he and his crew members did not trust her, questioned her

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mental health and ability to do her job, and did not want her to
return,       and he could not guarantee her safety. 135         Williamson
testified at his deposition that the statement he read at Roll Call
was intended to dissuade Draycott from returning to Station 54. 136
Other firefighters made similar statements opposing Draycott's

return to Station 54 stating that they did not trust her and blamed
her for a host of problems attributed to the investigation of her
complaints. 137      Although present at the Roll Call,         Fire Chief
Boriskie did not stop Williamson or the other firefighters from
making their statements, and did not ask any of his subordinates to
stop the statements from being made. 138




       See Captain Williamson's Statement Read at January 13, 2010,
     135

Roll Call, Exhibit 65 to USA's Response in Opposition to COH's MSJ,
Docket Entry No. 101-5.
       Oral Videotaped Deposition of Brian Williamson ( "Williamson
     136

Deposition"), p. 243:4-7, Exhibit 20 to USA's Response in
Opposition to COH's MSJ, Docket Entry No. 105-24, p. 108.
     13See Oral Deposition of Dennis James King, pp. 194:12-201:4,
          7

Exhibit 23 to USA's Response in Opposition to COH's MSJ, Docket
Entry No. 105-27, pp. 48-55 (blaming Draycott for tension in his
marriage because she was the person who created the investigation
and his wife believed that Draycott was the victim of acts done by
men); Oral Deposition of Roberto Garcia Vara, pp. 81:17-82:10,
Exhibit 24 to USA's Response in Opposition to COH's MSJ, Docket
Entry No. 105-28, pp. 20-21 (stating that he did not want Draycott
to return to Station 54 because of the problems that kept coming up
and by problems he meant her complaints).
     13Videotaped Oral Deposition of Phil Anthony Boriskie,
       8

p. 145:8-24, Exhibit 17 to USA's Response in Opposition to COH's
MSJ, Docket Entry No. 105-21, p. 67.
                                   -83-
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        The COH argues that "[t]he firefighters' expression of their

feelings,          although it may have felt harsh and humiliating for
Draycott,           is not objectively offensive or humiliating, " 139 is
contradicted by the testimony of Draycott's co-workers who were
present at the Roll Call and said that the comments were intended
to dissuade Draycott from returning to work at Station 54.                        The
COH's           contention    that   the   firefighters'     expression   of    their
feelings are not capable of raising a genuine issue of material
fact for trial because they were not the acts of supervisors and

were not undertaken in furtherance of COH business is belied by the
presence of the Fire Chief and members of his command staff, all of
whom            allowed the statements to continue despite seeing that
Draycott was in tears.                Accordingly,     the court concludes that
plaintiffs           have    cited   evidence     capable   of   establishing   that
Draycott suffered an adverse employment action in retaliation for

having engaged in activity protected by Title VII.


        5.         The COH's MSJ on Plaintiffs' Claims for Constructive
                   Discharge of Draycott Will be Denied
        "A successful claim of constructive discharge entitles an
employee who resigned to recover 'all damages available for formal
discharge."          Aryain, 534 F. 3d at 480 (quoting Suders, 124 S. Ct. at
2354).          In certain circumstances a constructive discharge can also
be considered an adverse employment action that precludes an


       13
            9
                COH's MSJ, Docket Entry No. 63, p. 34.
                                           -84-
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employer from asserting the Ellerth/Faragher defense to vicarious
liability. See Burlington Industries. Inc. v. Ellerth, 118               s. Ct.
2257, 2270 (1998) (holding that an employer is strictly liable for
supervisor harassment that "culminates in a tangible employment
action").         See also Suders, 124 s. Ct. at 2351 ("We conclude that

an    employer       does   not   have   recourse   to   the   Ellerth/Faragher
affirmative defense when a supervisor's official act precipitates
the constructive discharge.")
        The COH argues that it is entitled to summary judgment on

Draycott's claim for retaliatory constructive discharge because
        [t]he undisputed evidence in the record is that
        (1) Draycott's unchecked grief over the death of her
       daughter and her PTSD from her 1987 rape are the reasons
       Draycott ultimately resigned from her employment with the
       Houston Fire Department; and (2) after the incident on
       January 13, 2010, there were no additional allegations by
       Draycott that would establish [] a greater severity. 140

Asserting that Draycott fails to allege that she suffered any
discriminatory or retaliatory conduct after she returned to work in
April of 2010, and that all of the conduct Draycott contends caused
her constructive discharge occurred at least sixteen months before
she resigned, the COH argues that there is no causal connection
between the alleged conduct and Draycott's retirement.141               Citing
Draycott's V.A. medical records as evidence that her disability is
attributable to non-work related events, the COH argues that events


        14
          0
              Id. at 43.
       Id. at 44. See also COH's Reply in Support of MSJ, Docket
       141

Entry No. 124, pp. 23-24.
                                         -85-
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unrelated to Draycott's employment were contributing factors that

accounted for more than 50% of the reason Draycott was not mentally
fit to perform the duties of a firefighter. 142               Citing Keyes'
transfer to another station, the COH argues that no reasonable
person would have resigned under the same or similar circumstances
as those that Draycott faced, 143 and that the decision to resign and
seek    disability      benefits   was   Draycott's     not   the   COH's
decision. 144
       The COH's argument that Draycott was not constructively
discharged by the COH's conduct is contradicted by three different
medical experts - Dr. Metcalfe, Dr. Nahmias, and Dr. Drell - each
of whom examined Draycott and concluded that she was permanently
disabled and unable to work as a firefighter, and that the COH's
conduct caused her         disability.


                (a)   Draycott's Treating Psychologist Dr. Metcalfe
       Plaintiffs cite evidence showing that Draycott began seeing
HPD staff psychologist, Dr. William Metcalfe, in October of 2009.
Draycott was eligible to see Metcalfe because her husband was an




       14
         2
             COH's MSJ, Docket Entry No. 63, pp. 45-46.
       Id. at 46. See also COH's Reply in Support of MSJ, Docket
       143

Entry No. 124, pp. 22-23.
     144 COH's MSJ, Docket Entry No. 63, p. 46. See also COH's Reply
in Support of MSJ, Docket Entry No. 124, pp. 20-21 (asserting that
Draycott chose to resign her employment with the City).
                                     -86-
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HPD employee.145       Draycott's presenting concern to Dr. Metcalfe was
"occupational      problems    and   grief." 146   The   COH   argues   that
Draycott's condition was caused by the death of her daughter in
2006, i.e., a non-work related event that predated the July 2009
vandalism.      But Dr. Metcalfe contradicts the COH' s argument by

testifying that following the death of her daughter, Draycott
actually appeared to regain her functioning fairly well and she was
fully capable of performing her job as a firefighter.147                     He
concluded that the incident at Station 54 resurrected many feelings
of grief Draycott had about her daughter's passing, and ultimately
caused her disability.        In pertinent part Dr. Mecalfe testified:

     Q.      . . . [Y] ou have there, "And that the disability is
             the result of an," and you've checked "on-duty
             illness/accident." Is that correct?
     A.      Yes.148


     Q.      And when you refer to on-duty illness/accident,
             specifically what are you referring to?



       Metcalfe Deposition, pp. 14:5-20, 17:17-22, 18:23-19:1,
     145

Exhibit 1 to COH's Corrected Motion to Exclude Mental Health
Experts' Testimony, Docket Entry No. 85-3, pp. 15 and 18-20.
       Id. at 21:11-14, Exhibit 1 to COH's Corrected Motion to
     146

Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
p. 22.
       Id. at 83:24-84:8, Exhibit 1 to COH's Corrected Motion to
     147

Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
pp. 84-85.
       Id. at 52:1-5, Exhibit 1 to COH's Corrected Motion to
     148

Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
p. 53.
                                     -87-
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     A.    I believe I was thinking about the incident at the
           firehouse, and the series of incidents really, that
           might be described as harassment towards Jane. 149



     Q.    So would it be fair to say that the incident that
           occurred in July 2009, along with the meeting in
           January 2010, put her in a state of mind where she
           was very susceptible to having traumatic incidents
           or occurrences because of what had happened to her?



     A.    I think it's reasonable. 150



     Q.    Doctor, based on your treatment of Ms. Draycott and
           the information that was available to you, did
           Ms.  Draycott have a mental disability that
           prevented her from functioning as a firefighter for
           the Houston Fire Department before the graffiti/
           vandalism incident in July 2009?
    A.     Just to make sure I understand your question. Was
           she disabled before that incident? No, I don't
           think she was. 151



     Q.    Prior to the July 7, 2009[,] incident, Ms. Draycott
           was fully able to perform her job at Station 54,
           correct?




       Id. at 54:11-15, Exhibit 1 to COH's Corrected Motion to
     149

Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
p. 55.
    150
       Id. 43:1-9, Exhibit 1 to COH's Corrected Motion to Exclude
Mental Health Experts' Testimony, Docket Entry No. 85-3, p. 44.
    151
       Id. at 55: 11-19, Exhibit 1 to COH's Corrected Motion to
Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
p. 56.
                                   -88-
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     A.    To the best of my knowledge. 152

     Dr.   Metcalfe also testified that Draycott' s condition is
permanent, and that she will never again work as a firefighter:

     Q.    And is it your opinion, your professional opinion,
           that based on Ms. Draycott's condition that her
           disability is likely to be permanent?

     A.    Yes.   That's what I've checked off. 153



     Q.    And when you indicate at the top of this document
           that in your professional opinion the applicant's
           condition is likely permanent, what condition are
           you referring to?
     A.    I believe I was thinking her ability to work as a
           firefighter. 154



            (b)   The COH's Medical Expert Dr. Nahmias
     In December of 2010 the COH instructed Draycott to submit to
a fitness-for-duty examination with Dr. Larry Nahmias. 155         Draycott


     152
        Id. at 154: 8-11, Exhibit 1 to COH' s Corrected Motion to
Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
p. 155.
       Id. at 51:22-25, Exhibit 1 to COH's Corrected Motion to
     153

Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
p. 52.
       Id. at 53: 13-18, Exhibit 1 to COH's Corrected Motion to
     154

Exclude Mental Health Experts' Testimony, Docket Entry No. 85-3,
p. 54.
       See October 7, 2010, Letter from T. Garrison to J. Draycott,
     155

Exhibit 75 to USA's Response in Opposition to COH's MSJ, Docket
Entry No. 105-48, p. 2.     See also Report of L. Nahmias, p. 2,
Exhibit 77 to USA's Response in Opposition to COH's MSJ, Docket
Entry No. 103-5, p. 3.
                                    -89-
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met with Dr. Nahmias twice and Dr. Nahmias issued a report in

February of 2011 concluding that Draycott was
      not psychologically fit to perform her duties as a
      firefighter permanently or in the future. . . [Draycott]
      is suffering from significant and severe psychological
      problems that prevent her from returning to her usual
      occupation.   Her symptoms cause her permanent total
      impairment in her usual occupation. 156

Dr. Nahmias testified that as a result of seeing her child's
picture defaced, Draycott developed severe psychological problems
and relived those experiences including having nightmares due to

her    PTSD-related    symptoms,     paranoia    and    suspiciousness. 157
Dr. Nahmias' examination of Draycott confirmed that seeing her
child's picture defaced by vandalism that occurred on July 7, 2009,
contributed to Draycott's inability to work as a firefighter. 158


            (c)   The HFRRF's Medical Expert Dr. Drell
      On June 27, 2011 at the request of the HFRRF, Draycott was
examined by independent psychiatrist, Dr. William K. Drell, who
found her permanently unable to work as a firefighter, and stated,
"I do believe Mrs.      Draycott's disabling symptoms are directly




       Report of L. Nahmias, pp. 8 - 9, Exhibit 7 7 to USA's Response
      156

in Opposition to COH's MSJ, Docket Entry No. 103-5, pp. 9-10.
       Nahmias Deposition, pp. 110:22-111:11, Exhibit 76 to USA's
      157

Response in Opposition to COH's MSJ, Docket Entry No. 103-4,
pp. 16-17.
       Id. at 111:12-16, Exhibit 76 to USA's Response in Opposition
      158

to COH's MSJ, Docket Entry No. 103-4, p. 17.
                                   -90-
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related to her work related incidents." 159          On August 7, 2012,
Dr.   Drell re-evaluated Draycott, and again concluded that her
disability     "was directly caused by experience with the fire
department," and stated that "I do not believe she can perform the
usual and customary duties of a firefighter/EMT due to her Post

Traumatic Stress Disorder.     I do anticipate her ability to work for
HFD will be permanent." 160

      Because a reasonable fact finder could conclude from the
testimony of Dr. Metcalfe, Dr. Nahmias, and Dr. Drell that the
COH's conduct left Draycott permanently disabled and unable to
perform the functions of her job as a firefighter, the COH is not
entitled to summary judgment on Draycott's claim for constructive
discharge.


      6.     The COH's MSJ on Plaintiffs' Claims for Injunctive Relief
             Will be Denied
      The United States alleges upon information and belief that the
discriminatory situation persists at Station 54, and that
      a wall has been built in Station 54's female dormitory
      that reduces the dormitory's size to fit only a single
      bed. The remainder of the room has been converted into
      space for male firefighters.   As a result, under the



       July 11, 2011, Letter from William K. Drell to Glenna Hicks,
      159

Deputy Director of Member Services, Exhibit 79 to USA's Response in
Opposition to COH's MSJ, Docket Entry No. 103-7, p. 4.
       August 13, 2012, Letter from William K. Drell to Glenna
      160

Hicks, Deputy Director of Member Services, Exhibit 80 to USA's
Response in Opposition to COH's MSJ, Docket Entry No. 103-8, p. 4.
                                   -91-
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     current configuration,    no more than one                 female
     firefighter can be assigned to Station 54. 161
The United States seeks injunctive relief ordering the COH
     to develop and implement appropriate and effective
     measures to prevent discrimination and retaliation,
     including but not limited to implementing appropriate
     anti-discrimination and investigation policies and
     procedures applicable to employees working at Station 54,
     and implementing adequate training to all employees and
     officials, including but not limited to: (1) taking
     proper steps to investigate complaints of sexual
     harassment and sex-based discrimination; (2) disciplining
     employees found responsible for sexual harassment;
     (3) instituting effective anti-retaliation policies and
     procedures; (4) disciplining employees found responsible
     for retaliation; (5) distributing its anti-harassment and
     anti-retaliation policies to all employees;           and
     ( 6) providing mandatory sexual harassment and anti­
     retaliation training for all supervisors and employees. 162
     The COH argues that it is entitled to summary judgment on the
United States' claim for injunctive relief because that claim is
moot and impermissibly vague and overbroad, and because plaintiffs
have failed to comply with Federal Rule of Civil Procedure 65. 163


              (a)   Plaintiffs' Claim for Injunctive Relief is Not Moot
     The COH argues that plaintiffs' claim for injunctive relief is
moot because neither Draycott nor Keyes will benefit from the
requested relief, and the challenged conduct is not likely to
reoccur.

     161
           Complaint, Docket Entry No. 1, p. 14,     1 8 7.
     162
           Id. at 18   1 (e).
       COH's MSJ, Docket Entry No. 63, pp. 46-62. See also COH's
     163

Reply in Support of MSJ, Docket Entry No. 124, pp. 24-25.
                                   -92-
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     Asserting that Draycott voluntarily took disability retirement
from HFD in 2011, and Keyes has since promoted to Captain and
transferred to HFD's Communications Center, and citing Pederson v.
Louisiana State University, 213 F.3d 858, 869-870 (5th Cir. 2000),
the COH argues that the United States' claim for injunctive relief

is moot because neither plaintiff will benefit from the relief
sought.164    But Pederson is inapposite and the COH's reliance on it
misplaced.
     Pederson was a Title IX            case   brought by three private
individuals,     not by a federal agency charged with upholding a
federal civil rights statute. Id. at 864-66. The relief sought in
Pederson      included   injunctive     relief   to   benefit   the    three
individuals who brought the suit, as well as injunctive relief for
a class.       Id. at 873.     Although the Fifth Circuit held that
injunctive relief for the three named plaintiffs was moot because
they had graduated, id. at 874, the court held that injunctive
relief was not moot with regard to the putative class. Id.            Unlike
Pederson, which was brought by private plaintiffs, this action has

been brought by the Department of Justice in the name of the United
States.      The Supreme Court has held that federal agencies charged
by Congress with upholding Title VII serve the public interest of
eliminating employment discrimination,           even when enforcing the
rights of private individuals.          See General Telephone Co. of the


     164
           COH's MSJ, Docket Entry No. 63, p. 48.
                                      -93-
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Northwest,      Inc. v. EEOC,   100 S. Ct. 1698,       1706   (1980)   ("Any
violations that the EEOC ascertains in the course of a reasonable
investigation of the charging party's complaint are actionable.").
See also EEOC v. Waffle House, Inc., 122 S. Ct. 754, 765 (2002) ("We

are persuaded that, pursuant to Title VII             . whenever the EEOC
chooses from among the many charges filed each year to bring an
enforcement action in a particular case, the agency may be seeking
to vindicate a public interest,           not simply provide make-whole

relief for the employee, even when it pursues entirely victim­
specific relief"). The Fifth Circuit has similarly allowed federal
agencies to pursue injunctive relief even when make whole relief

for a charging party is not at issue. See EEOC v. Jefferson Dental
Clinics, P.A., 478 F.3d 690, 698-699 (5th Cir. 2007). Accordingly,
the court concludes that the United States' claim for injunctive
relief is not moot despite the fact that neither of the two

individual plaintiffs stand to benefit from that relief.
     Citing the Thompson & Horton Assessment from December of 2009,
and EEOC v. Flambeau, 846 F.3d 941, 950 (7th Cir. 2017), the COH
argues that the challenged conduct is not likely to reoccur because
the COH responded to the Thompson         &   Horton Assessment by making
changes to the policies and procedures governing the operations of
both HFD and the OIG. 165       The COH argues that the changes in
policies and procedures coupled with an increase in training and


     165
           Id. at 49-61.
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other changes made over time indicates that injunctive relief for

conduct rooted in 2009/2010 is not legally supported. The COH also
argues that plaintiffs' reliance on the Tran-Buser Memo is fatal
for purposes of withstanding summary judgment for the reasons set
forth in the COH's Objections and Motion to Strike Plaintiff's

exhibits (Docket Entry No. 120).166
          The Fifth Circuit has repeatedly made clear that "injunctive

relief is mandatory in the wake of a Title VII violation 'absent
clear and convincing proof of no reasonable probability of further
noncompliance with the law.'"            EEOC v. Boh Brothers Construction
Co.   1   LLC, 731 F.3d 444, 469-70 (5th Cir. 2013) (en bane) (citations
omitted).           The City's reliance on Flambeau, 846 F. 3d at 941, is
also misplaced.           In Flambeau, 846 F.3d at 948-50, the court found
that the injunctive relief sought by the EEOC was moot because no
damages could be proven with respect to the charging party and the
mandatory wellness program challenged by the EEOC was abandoned by
the employer for economic reasons long before the EEOC filed suit
for unrelated reasons.           That is not the case here.   Moreover, for

the reasons stated in§ II.B.3, above, the court has concluded that
the COH's objections to and motion to strike the Tran-Buser Memo
should be denied.            The court concludes, therefore, that genuine
issues of material fact exist as to whether the challenged conduct
is likely to reoccur.           Accordingly, the United States' claim for
injunctive relief is not moot.

          166
                COH's Reply in Support of MSJ, Docket Entry No. 124, p. 24.
                                       -95-
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           (b)   Plaintiffs' Have Not Failed to Comply with Rule 65
     Citing    Scott   v.   Schedler,    826   F.3d   207,   211    (5th   Cir.
2016)(per curiam), the COH argues that plaintiffs' request for an
injunction should be denied because the request fails to comply

with Federal Rule of Civil Procedure 65(d)(1).          In Scott the Fifth

Circuit held that "an injunction is overly vague if it fails to

satisfy the specificity requirements set out in Rule 65(d) (1), and
it is overbroad if it is not 'narrowly tailor[ed]                  . to remedy
the specific action which gives rise to the order' as determined by
the substantive law at issue."          Id. (quoting Doe v. Veneman, 380
F.3d 807, 818 (5th Cir. 2004)).           Citing Meyer v. Brown        &   Root
Construction Co., 661 F.2d 369, 373 (5th Cir.                1981), for its
statement that Rule 65 does not permit a "general injunction which
in essence orders a defendant to obey the law," id. at 373, the COH
argues that:
      [t] he injunctive relief requested in Plaintiff's
     Complaint is, in essence, nothing more than a request
     ordering the City to obey Title VII. The request is
     neither specific nor narrowly tailored. Plaintiff fails
     to specify what it considers to be "appropriate and
     effective measures to prevent discrimination and
     retaliation" such that the City would be able to comply
     with the request. If Plaintiff does not believe the
     extensive changes already implemented by the City are
     sufficient, what else should be done? What are the terms
     of the policies Plaintiff believes to be appropriate and
     effective? What should the requested training cover and
     how should it be conducted?       How should offending
     employees be disciplined? Further, it is unclear whether
     Plaintiff's requested injunction is targeted to Station
     54 and HFD, or the City as a whole.       Therefore, the



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     request does not comply with Rule 65, and Defendant is
     entitled to summary judgment for this reason as well. 167
     In pertinent part, Rule 65 states:
     (d)      Contents and Scope of Every Injunction and Every
              Restraining Order:

              (1)   Contents. Every order granting an injunction
                    and every restraining order must:

                    (A)     state the reasons why it issued;

                    (B)     state its terms specifically; and

                    (C)     describe in reasonable detail - and not
                            by referring to the complaint or other
                            document - the act or acts restrained or
                            required.
Fed. R. Civ. P. 65(d)(1).        Rule 65(d) addresses the requirements of
orders      granting   an    injunction;     Rule   65(d)   does   not   address
requirements for stating a claim or a prayer for injunctive relief.
A prerequisite for granting injunctive relief in this case is a
finding of intentional employment discrimination.             If and when such
a finding is made, the court has broad discretion to fashion an
appropriate remedy, including, an injunction.                Accordingly, the

court is not persuaded that the United States has failed to comply
with Rule 65.

     Because the court has concluded that the United States' claim
for injunctive relief is not moot, and that the United States has
not failed to comply with Rule 65, the COH's MSJ on the United
States' claim for injunctive relief will be denied.


     167
           COH MSJ, Docket Entry No. 63, pp. 61-62.
                                      -97-
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D.      The United States' Motion for Partial Swnrnary Judgment

        The United States moves for summary judgment on the COH's
affirmative defense that "Plaintiff's claims are barred in whole or

in part, or recoverable damages should be reduced, because Draycott
              ha[s] wholly failed to take reasonable steps to mitigate

[her] damages as required by law." 168         Plaintiffs argue that

        [s] ummary judgment is appropriate because the City cannot
        prove that substantially equivalent jobs were available
        for which Draycott was qualified.        The City's sole
        evidence on this defense comes from its rebuttal expert
        on damages, Steward, who identified three positions that
        could have been considered in an analysis of Draycott's
        economic issues. But Steward did not compare the three
        occupations he identified with the HFD firefighter job to
        determine whether they were substantially equivalent.
        Nor could he say that Draycott was minimally qualified
        for these positions, or that she could have performed any
        of these jobs, given her medical diagnoses. For these
        reasons, the City's affirmative defense must fail. 169
        Asserting that the USA's MSJ should be denied, the COH argues
that Draycott had a duty to mitigate lost wages incurred as a
result of her alleged constructive discharge by using reasonable
diligence to find other suitable employment. 170              Asserting that


       USA's MSJ, Docket Entry No. 59, p. 10 (citing City of
        168

Houston's Answer and Affirmative Defenses, Docket Entry No. 9,
p. 10 � 5) .
        169
              Id. at 11.
       Defendant City of Houston's Response in Opposition to
        170

Plaintiff United States' Motion for Summary Judgment, Docket Entry
No. 95, pp. 6-7. The COH also argues that Draycott had a duty to
mitigate her alleged hostile work environment damages by taking
advantage of the City's corrective opportunities, and that Draycott
had a duty to mitigate her alleged mental anguish damages by
                                                     (continued... )
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Draycott failed to seek "any other employment whatsoever, either
before or after she left HFD,      11171
                                           the COH argues that "[b] ecause she
did not seek employment,          there is no need to establish the
availability of substantially comparable work. 11172            The COH also
argues that

      the requirement of substantially comparable work only
      applies to claims for back pay, not claims for alleged
      lost future wages. However, substantially comparable
      work was available to [Draycott] with the City, and it
      would have been offered to her had she requested a
      accommodation for her mental disability. There is no
      requirement that the failure to mitigate be supported by
      expert testimony.    The fact evidence in the summary
      judgment record defeats Plaintiff's claim for judgment as
      a matter of law.173

      Asserting that Title VII does not impose a duty to mitigate
compensatory damages for emotional distress,               the United States
replies that it is only seeking partial summary judgment on the
COH's affirmative defense of failure to mitigate damages for back
pay.114         Citing Sparks v. Griffin,      460 F.2d 433,   443 (5th Cir.
1972),         the United States argues that the City must prove that


       ( •••continued)
      170

complying    with   her mental   health  providers'   treatment
recommendations, but the COH cites no evidence capable of
establishing its entitlement to judgment as a matter of law on
either of these bases.
      17
           1   Id. at   7.




       Plaintiff United States' Reply in Support of Its Motion for
      174

Summary Judgment, Docket Entry No. 125, pp. 7-8.
                                      -99-
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substantially similar positions were available for Draycott, and
that the COH cannot do so on this record.175



      1.          Applicable Law
      Title VII claimants have a statutory duty to mitigate damages

for back pay.             See 42 U.S.C.       §   2000d-5(g) ("Interim earnings or
amounts          earnable     with    reasonable          diligence    by      the    persons
discriminated             against    shall    operate      to   reduce      the      back    pay
otherwise allowable.").               Plaintiffs in employment discrimination
cases must mitigate their damages by searching for substantially
equivalent employment.               See West v. Nabors Drilling USA, Inc., 330
F.3d 379, 393 (5th Cir. 2003).
      Substantially equivalent employment is that employment
      which    affords    virtually   identical     promotional
      opportunities,   compensation,    job   responsibilities,
      working conditions, and status as the position from which
      the Title VII claimant has been discriminatorily
      terminated.
Id.   Courts in the Fifth Circuit are split over whether employers
asserting          this     defense    must       prove     both   that     substantially
equivalent employment was available and that the plaintiff failed
to exercise reasonable diligence to obtain it.                                 Compare id.
("Although          the    employer    is    normally       required      to    prove       that
substantially equivalent work was available and that the former
employee did not exercise reasonable diligence to obtain it, once


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           5
               Id. at 8-16.
                                             -100-
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the 'employer proves that an employee has not made reasonable

efforts to obtain work,        the employer does not also have to
establish        the   availability     of    substantially      equivalent
employment.'") (quoting Sellers v. Delgado College, 902 F.2d 1189,
1193 (5th Cir. 1990), cert. denied, 111 S. Ct. 525 (1991)), with

Sparks, 460 F.2d at 443 (holding that the defendant must prove that

plaintiff failed to diligently search for employment, and that
there were jobs available that the plaintiff could have discovered
and for which the plaintiff was qualified).         Because neither West
nor Sellers was an en bane decision, courts in this district have
held that the Fifth Circuit's earlier holding in Sparks controls.

See Miles-Hickman v. David Powers Homes, Inc., 613 F. Supp. 2d 872,
887   &   n. 22 (S.D. Tex. 2009) (holding that the Fifth Circuit's rule
of orderliness requires adherence to Sparks).          See also Lowrey v.

Texas A      &   M University System,      117 F.3d 242,   247   (5th Cir.
1997) ("[O]ne panel of this court cannot overrule the decision of
another panel; such panel decisions may be overruled only by a
subsequent decision of the Supreme Court or by the Fifth Circuit
sitting en bane.").        The COH, as Draycott's emloyer, bears the
burden of proving that Draycott unreasonably failed to mitigate her
damages by establishing both that plaintiff failed to diligently
search for employment, and that there were jobs available that the
plaintiff could have discovered and for which the plaintiff was
qualified.       See Sparks, 460 F.2d at 443.


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      2.          Application of the Law to the Facts

      Asserting that the COH cannot prove that the positions its
expert witness, Steward, identifies as available were substantially
equivalent to the firefighter position,              or that Draycott was

qualified for any of those positions, the United States argues that

the COH is not able prove its failure to mitigate affirmative
defense. 176         Recognizing that   "[t] he   gravamen   of   [the United
States'] Motion is the argument that the City did not prove that
jobs exist for which Draycott is qualified, " 177 the COH argues that
      under the controlling law of this Circuit, there is no
      need for the City to make such a showing. And even if
      there were such a requirement, the summary judgment
      [record] shows that alternate jobs are available with the
      City, outside of HFD, which are substantially equivalent
      to the firefighter position that Draycott voluntarily
      left. 178
Citing the deposition testimony of Draycott's husband and then Fire
Chief Boriskie, the COH argues that Draycott failed to look for
other employment and that substantially comparable work exists. 179
The COH argues that Draycott's husband testified that since leaving
HFD Draycott spends her time home schooling their children, doing



       USA's MSJ, Docket Entry No. 59, pp. 10-16.
      176
                                                         See also
§ II.B.l(a), above, concluding that the United States' motion to
exclude Dr. Steward's testimony as to Draycott's employability and
employment opportunities should be granted.
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          77   COH's Response in Opposition, Docket Entry No. 95, p. 11.
      11s rd
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            Id. at 13-15.
                                      -102-
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housework, quilting, and reading. 100      The COH argues that Boriskie
testified that Draycott could have gone to "any fire station in the
city, any shift . . . or she could have come down and work days on
staff. "181   Boriskie also testified:
      I even offered her that she could be housed in my office,
      because I could use someone in             helping with
      correspondence and mail. And we had multiple, multiple
      work locations, and I was - that would have been my
      strong preference for her instead of going back to 54 on
      the A shift. 182
      Boriskie's testimony is not capable of raising a genuine issue
of material fact as to whether substantially equivalent employment
was available for Draycott.       Boriskie testified that he made his
offer of      an   assignment for Draycott     anywhere    within   HFD to
Draycott's attorney in November of 2009 in an effort to prevent
Draycott from returning to work on the A shift at Station 54.            But
Draycott did not leave her employment          and her duty to mitigate

her damages - did not accrue until July of 2011, over a year and a
half later.        When Draycott left her employment, Boriskie was no
longer Fire Chief, and the COH has failed to present any evidence
that substantially equivalent employment was available for Draycott


       Id. at 13 (citing Oral and Video Deposition of Jason
      18O

Draycott, pp. 5:24-6:1, 41:21-42:3, Exhibit J to COH's MSJ, Docket
Entry No. 63-12, pp. 3 and 12).
       Id. at 14 (citing Videotaped Oral Deposition of Phil Anthony
      181

Boriskie ("Boriskie Deposition"), p. 57:16-18, Exhibit C to COH's
MSJ, Docket Entry No. 63-5, p. 16)).
       Boriskie Deposition, p. 57:19-24, Exhibit C to COH's MSJ,
      182

Docket Entry No. 63-5, p. 16.
                                  -103-
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at HFD or anywhere else at the COH at anytime after her employment
ended in July of 2011.      The COH has, therefore, failed to adduce
evidence from which a reasonable fact finder could conclude that
substantially equivalent employment was available for Draycott.
     Because the COH has failed to raise evidence capable of

creating a genuine issue of material fact as to the availability of
substantially equivalent employment, the United States' motion for
partial summary judgment on the COH' s affirmative defense that
Draycott failed to mitigate her damages will be granted.



                     IV.   Conclusions and Order183

     As and for the reasons stated in § III.D, above, Plaintiff
United States's Motion for Summary Judgment, Docket Entry No. 59,

is GRANTED.

     For the reasons stated in§ III.C, above, Defendant's Motion

for Summary Judgment, Docket Entry No. 63, is DENIED.


       The court has allowed the parties extraordinary leeway in
     183

submitting lengthy briefs and other written materials in connection
with the pending motions. As the length of this Memorandum Opinion
and Order indicates, the court has expended considerable time
reading these papers and performing a significant amount of
independent research to be as fully informed as possible when
addressing the parties' arguments.    While, because of the sheer
volume of information presented, it is not impossible that some
arguments were overlooked, the parties should assume that failure
to expressly address a particular argument in this Memorandum
Opinion and Order reflects the court's judgment that the argument
lacked sufficient merit to warrant discussion. Accordingly, the
court strongly discourages the parties from seeking reconsideration
based on arguments they have previously raised or that they could
have raised.
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     As and for the reasons stated in§ II.B.l(a), above, Plaintiff

United States' Motion to Exclude Testimony of Defendant's Expert

Dr. Dwight D. Steward, Docket Entry No. 81, is GRANTED.

     For the reasons stated in § II.B.l(b),           above,   Defendant's
Motion to Exclude or Limit Opinion Testimony of                Plaintiffs'

Designated Economics Expert Jon Wainwright, Docket Entry No. 82, is

DENIED.

     Defendant's Motion to Exclude or Limit Opinion Testimony of
Plaintiff's Designated Mental Health Experts, Docket Entry No. 83,

is MOOT in light of the defendant's filing of Docket Entry No. 85.

     As and for the reasons stated in§ II.B.2, above, Defendant's
(Corrected) Motion to Exclude or Limit Opinion Testimony of
Plaintiff's Designated Mental Health Experts, Docket Entry No. 85,

is DENIED.

     As and for the reasons stated in§ II.B.3, above, Defendant's
Objections to and Motion to Strike Plaintiff United States' Summary

Judgment Exhibits, Docket Entry No. 120, is DENIED.

     Motions in limine will be filed by June 5, 2020, the joint
pretrial order will be filed by July 6, 2020, and Docket call will
be held on July 10, 2020, at 3:00 p.m. in Courtroom 9-B, 9th Floor,
United States Courthouse, 515 Rusk Avenue,              on, Texas 77002.
     SIGNED at Houston, Texas, on this



                                          SIM LAKE
                            SENIOR UNITED STATES DISTRICT JUDGE

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